      EXHIBIT D
City Council Resolution Number 31855
ATTACHMENT 1
 to EXHIBIT D
                                                                            November 9, 2018
                                                       Overview of Several Issues with SPOG Tentative Agreement
                                                      Related to Implementation of Accountability System Reforms
                                         prepared by Judge Anne Levinson (ret.) at the request of the Community Police Commission
Introductory notes:
• While new structures and many operational mandates concerning the OPA, OIG, and CPC in the Accountability Ordinance [Ordinance 125315] remain mostly intact (many were not
    subject to bargaining), the SPOG tentative agreement (TA) eliminates or modifies a large number of other reforms design to strengthen the accountability system, that were to be
    implemented after bargaining. The City expressly committed in the Ordinance to “… negotiate[e] collective bargaining agreements that conform to and are fully consistent with the
    provisions and obligations of [Ordinance 125315].” (Section 3.29.510.). As the Ordinance stated, this was an unusual approach made necessary by the unique nature of policing and the
    pending Consent Decree. The Ordinance terms were the results of more than two years of civilian oversight experts’ and community advocates’ discussions and negotiations with City
    officials to make long-needed system improvements in ways that best served the public, could be supported by the Police Department, were fair to employees, and would be consistent
    with the goals of the Consent Decree, in particular enhancing community trust. Many provisions were more moderate than experts and advocates preferred, because of those many
    months of discussions to find approaches on which all sides could agree. The Ordinance language was then carefully crafted to ensure fidelity to those outcomes. The expectation was
    that the SPMA and SPOG TAs would help ensure that the intended reforms were comprehensively implemented. The civilian experts and community did not argue for stronger terms in
    the Ordinance, so that they could then be ‘pared back’ in the TAs. The Ordinance was understood to be the baseline, not the ceiling.
•   The TA states that the language in the TA, not City ordinance, will prevail whenever there is a conflict. (Article 18.2 of TA.) That means, in addition to terms where the parties apparently
    intended the language to differ from the Ordinance, every place where there are unclear or out-of-date provisions, or terms that are different in any other way from any City ordinance
    (and therefore ‘conflict’), whether intentional or not, it is the exact language of those TA provisions that must prevail. There are a number of apparent drafting errors or issues throughout
    the TA, including several where only some aspects of the relevant Ordinance language were included. Because of the “express language of the TA shall prevail” terms in the TA, each of
    these allows for challenges to disciplinary actions based on the plain language of the TA. Those challenges then result in settlements or appeals due to that lack of clarity, add delay and
    cost for the public and complainants, and potentially result in less accountability. All of which are contrary to the purpose of the accountability system reforms.
•   The SPMA collective bargaining agreement also did not accept some reforms set forth in the Ordinance. At the time, the City took the position that these differences were acceptable
    because SPMA agreed to accept all other aspects of the Ordinance. However, the value of SPMA’s acceptance of most Ordinance provisions is now undercut because the SPOG TA
    conflicts with so many of them, and as noted above, the SPOG TA language will prevail. Because of different contract terms (including different 180-day deadlines, different burdens of
    proof, different notice requirements, etc.), OPA will have to either establish two systems for handling complaints and investigations of different ranks (which directly conflicts with the
    Ordinance requirement that all ranks be treated equivalently regarding accountability so that the public and SPD employees can rely on complaint, investigation, discipline, disciplinary
    appeals, and related processes to not treat higher ranking personnel differently than officers and sergeants), or OPA and the City will be forced to apply weakened accountability
    standards from the SPOG TA to SPMA members as well. For example, if members from both unions are involved in an OPA investigation of a single incident, OPA’s management of that
    investigation will be complicated because different rules apply to SPMA and SPOG employees. If those differences result in different outcomes, accountability and community trust will
    be impacted. Further, if the OIG conducts the investigation, the complications may be even more difficult. There is no language in either the SPOG TA or the SPMA contract that
    accountability policies and practices be applied uniformly regardless of rank or position, as required by the Ordinance.
•   The TA states that “[t]he parties have agreed to re-open the Agreement on some topics …” (Article 21.7) While the TA stipulates a number of specific areas of the Ordinance, including,
    notably, allowing secondary employment reforms for future re-opening (which is problematic), no specifics are included as to what the intent is, and not all topics subject to re-openers
    are listed. Additional information and parameters are needed to help ensure that re-openers do not result in further weakening or delay of reforms. As well, technical advisors should be
    utilized when the parties negotiate these.
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The following table details areas where key accountability system reforms appear to have been weakened or eliminated by the proposed SPOG TA. The Comments
column explains what would have been needed in the TA to preserve the essence of the accountability reform noted. “Should” in this column means “in order to
preserve the reform”, understanding that the collective bargaining process is one in which the community must look to City leaders to advance their priorities.
                                                      Areas of Conflict Between Accountability System Reforms and the SPOG TA
         Ordinance 315215 Language (Followed by Additional System Issues)           Related SPOG TA Language                      Comments
         3.29.010 Purpose                                                           Preamble The City and the Guild agree that In the preamble, the TA should have
         A. The police are granted extraordinary power to maintain the public       the purpose of this Agreement is to provide acknowledged that in negotiating the
         peace, including the power of arrest and statutory authority under RCW for fair and reasonable compensation and          terms, it was important to address the
         9A.16.040 to use deadly force in the performance of their duties under     working conditions for employees of the       interests of the public. Those interests
         specific circumstances. Public trust in the appropriate use of those       City as enumerated in this Agreement, and     include not only competitive wages, fair
         powers is bolstered by having a police oversight system that reflects      to provide for the efficient and              working conditions, effective public safety,
         community input and values. It is The City of Seattle’s intent to ensure   uninterrupted performance of municipal        but also a fair and strong system that holds
         by law a comprehensive and sustainable approach to independent             functions.                                    police accountable when necessary, to
         oversight of the Seattle Police Department (SPD) that enhances the                                                       ensure Constitutional policing, best
                                                                                    Appendix E … Recognizing the importance
         trust and confidence of the community, and that builds an effective                                                      practices, fairness, and community trust.
                                                                                    of proceeding with implementation of the
         police department that respects the civil and constitutional rights of the                                               Either the Ordinance language at left
                                                                                    Ordinance, and the need to protect the
         people of Seattle. The purpose of this Chapter 3.29 is to provide the                                                    should have been included, or at minimum,
                                                                                    interests of both the Guild and the City, the
         authority necessary for that oversight to be as effective as possible.                                                   among the stated purposes should be “to
                                                                                    parties hereby agree as follows …
                                                                                                                                  ensure the police accountability system is
                                                                                                                                  as effective as possible.” Also, in Appendix
                                                                                                                                  E, there should be a reference to protecting
                                                                                                                                  the interests of the public.
         3.29.100 OPA established – Functions and authority                        Article 3.10.A. The parties recognize and      Article 3.10 does not align with
         F. OPA shall have the authority to address complaints of police           embrace the value of having a process          recommendations that address obstacles to
         misconduct through investigation, Supervisor Action referral,             whereby officers and community members         mediation, such as a requirement that the
         mediation, Rapid Adjudication, or other alternative resolution            can openly discuss situations in which a       officer agree to participate and the
         processes, as well as through Management Action findings and Training     member of the public felt dissatisfied with    complainant give up the option of possible
         Referrals. Management Action findings may be made for either              an interaction with an officer. Through        discipline, even if the officer doesn’t
         Sustained or Not Sustained complaints of misconduct.                      communication and dialogue, officers will      participate in a meaningful way; other
                                                                                   have the opportunity to hear the               obstacles include extended periods before
                                                                                   perspective and concerns of the public, and    mediation occurs and the formal nature of
                                                                                   complainants will have an opportunity to       the process, often in a downtown law firm,
                                                                                   get a better understanding of the role and     rather than in a community agency or other
                                                                                   responsibility of a police officer. The partiesmore informal setting. (See also 3.29.120.D
                                                                                   commit to monitoring and improving, as         below - that CPC and OIG were to provide
                                                                                   needed, the alternative resolution process     guidance in refining mediation processes.)
                                                                                   detailed in this section of the Agreement.
                                                                                                                                     Appendix E.8 TA language is only true if the
                                                                                   While this section references mediation, the
                                                                                                                                     OPA Director fully institutes the Rapid
                                                                                   parties may choose to utilize other means
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                                      Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)   Related SPOG TA Language                       Comments
                                                                   of alternative dispute resolution by mutual    Adjudication program and makes needed
                                                                   agreement.                                     improvements to the Mediation program.
                                                                   Article 3.10.B. For cases involving            The TA language does not fully align with
                                                                   dissatisfaction with an interaction with an    program recommendations to-date, is not
                                                                   officer, the initial notification under 3.6A   fully detailed, and Rapid Adjudication is
                                                                   will ask the officer whether he/she is willing defined only as a pilot.
                                                                   to mediate the complaint.
                                                                                                                      Note that drafting errors in Article 3.10 of
                                                                      Assuming the employee is interested in          the TA may also need to be corrected (the
                                                                      mediation, the OPA will have the discretion     inadvertent removal of “complaints” from a
                                                                      to determine whether or not mediation of a      sentence and the substitution of “deferred”
                                                                      complaint is appropriate. The classification    for “referred” in several instances.)
                                                                      report will normally be used to inform the
                                                                      named employee that the OPA has
                                                                      determined that a complaint is eligible for
                                                                      mediation. Complaints may also be deferred
                                                                      to mediation after an investigation has been
                                                                      commenced. A deferral will not be made
                                                                      until such time as the complainant has
                                                                      agreed to participate in the mediation
                                                                      process. Nothing herein shall affect the
                                                                      obligation of the employer that any
                                                                      discipline be imposed in accordance with
                                                                      just cause.
                                                                      1. Voluntary process – Mediation will occur
                                                                      only if both the complainant and employee
                                                                      agree.
                                                                      2. Non-disciplinary process – If the
                                                                      employee agrees and participates in
                                                                      mediation, or the complainant refuses to
                                                                      participate after the employee has agreed
                                                                      to participate, the complaint will not result
                                                                      in discipline or a record on the employee’s
                                                                      complaint history.
                                                                      3. The Mediator will attempt to schedule
                                                                      the mediation as soon as reasonably
                                                                      possible, recognizing the importance of
                                                                      holding the mediation at a time that is
                                                                      convenient for the complainant.
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                                      Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)   Related SPOG TA Language                     Comments
                                                                   4. If the Mediator informs the Department
                                                                   that the employee participated in the
                                                                   process in good faith, the complaint will be
                                                                   dismissed and will not be recorded on the
                                                                   officer’s complaint history. Good faith
                                                                   means:
                                                                   a. The officer actively listens to the
                                                                   perspective of the other party; and
                                                                   b. The officer fully communicates his/her
                                                                   own position and engages in the discussion.
                                                                   Good faith does not require the officer to
                                                                   agree to any particular resolution of a
                                                                   complaint.
                                                                   5. If the Mediator informs the Department
                                                                   that the employee did not participate in the
                                                                   mediation in good faith, a finding of which
                                                                   shall not be subject to challenge, the
                                                                   complaint will be returned to OPA. If
                                                                   returned to OPA, the 180-day time period
                                                                   shall be tolled during the time from when
                                                                   the complaint was deferred to mediation
                                                                   until the matter is returned to OPA.
                                                                   6. Confidential process – The parties to
                                                                   mediation will sign a confidentiality
                                                                   agreement. The mediator will only inform
                                                                   the OPA whether or not the parties met and
                                                                   participated in good faith. Any resolution
                                                                   will be confidential.
                                                                   7. Time spent at the mediation shall be
                                                                   considered on-duty time.
                                                                   8. The panel of mediators will be jointly
                                                                   selected by the OPA and the Guild. All costs
                                                                   of mediationshall be borne by the City.
                                                                   Appendix E.8. (See also 3.29.120.D of the
                                                                   Ordinance.) The parties have included both
                                                                   Rapid Adjudication and Mediation in the
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                                      Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)   Related SPOG TA Language                     Comments
                                                                   Agreement. The City agrees that these
                                                                   programs as set forth in the Agreement
                                                                   meet the goals of the Ordinance.
3.29.100 OPA established – Functions and authority                 Appendix E.12* The City agrees that the                 There was no intention that OPA conduct
G. OPA’s jurisdiction shall include all types of possible misconduct. In
                                                                   intent of the Ordinance is that OPA will not            criminal investigations, but because
complaints alleging criminal misconduct, OPA shall have the        itself conduct criminal investigations, but             Appendix E.12 does not incorporate a key
responsibility to coordinate investigations with criminal investigators
                                                                   rather that the OPA will have responsibility            clause in the Ordinance (“… to ensure that
external to OPA and prosecutors on a case-by-case basis to ensure that
                                                                   to coordinate its investigations with                   the most effective, thorough, and rigorous
the most effective, thorough, and rigorous criminal and administrative
                                                                   criminal investigators and/or prosecutors               criminal and administrative investigations
investigations are conducted.                                      from the City or other jurisdictions.                   are conducted.”), the intended scope of
                                                                                                                           OPA’s role appears to be scaled back from
                                                                           Article 3.7 Criminal Investigations. …- The
                                                                                                                           the reform intended in the Ordinance.
                                                                           Chief, after consultation with OPA, will
                                                                           determine the appropriate investigative         This TA language appears to limit OPA’s
                                                                           unit with expertise in the type of criminal     role to coordinating only scheduling. This
                                                                           conduct alleged to conduct the criminal         undercuts a major reform. The lack of
                                                                           investigation …… [I]nvestigations may be        civilian oversight of criminal investigations,
                                                                           sent [at the Chief’s discretion] to other       which often involve the most serious
                                                                           agencies. In the event the Chief decides to     allegations, has always been a significant
                                                                           have the Department conduct a criminal          weakness in Seattle’s system. When an
                                                                           investigation internally despite the            allegation involves possible criminal acts,
                                                                           objection of OPA, the Chief will provide a      OPA has been limited to referring the
                                                                           written statement of the material reasons       complaint to SPD (which infrequently refers
                                                                           for the decision to the Mayor and the City      such cases to another law enforcement
                                                                           Council President. OPA will not conduct         agency for investigation). OPA then waits
                                                                           criminal investigations. OPA and specialty      for that investigation to be completed and
                                                                           unit investigators conducting the               referred back to OPA. OPA cannot help
                                                                           investigation may communicate about the         ensure that important questions or
                                                                           status and progress of the criminal             evidence related to the OPA investigation
                                                                           investigation, but OPA will not direct or       are addressed as part of that initial
                                                                           otherwise influence the conduct of the          investigation, or address the quality,
                                                                           criminal investigation … In the discretion of   nature, or length of time of the criminal
                                                                           the Department, simultaneous OPA and            investigation. If the criminal investigation is
                                                                           criminal investigations may be conducted...     not thorough or timely, the OPA
                                                                                                                           investigation is often compromised (e.g.,
                                                                                                                           evidence is no longer available, witnesses’
                                                                                                                           memories fade over time, there is limited
                                                                                                                           time left in OPA’s 180-day investigation
                                                                                                                           window, or the quality of the investigation
                                                                                                                           impacts the OPA investigation because it is
                                                                                                                           incorporated in the case file).
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                                      Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)   Related SPOG TA Language                 Comments
                                                                                                            The intended reform was to provide the
                                                                                                            OPA Director the authority to consult with
                                                                                                            the criminal investigator and prosecuting
                                                                                                            attorney at the beginning of the case, to
                                                                                                            determine the most effective approach for
                                                                                                            achieving thorough and rigorous criminal
                                                                                                            and OPA investigations. Also, the OPA
                                                                                                            Director, not the Department, should
                                                                                                            determine whether there are simultaneous
                                                                                                            OPA and criminal investigations and any
                                                                                                            decision on who investigates a criminal
                                                                                                            case, whether it’s an internal or external
                                                                                                            body, should depend on the OPA Director’s
                                                                                                            agreement to help ensure sufficient
                                                                                                            independence. (See also 3.29.130.G which
                                                                                                            requires concurrence of the OPA Director.)
3.29.105 OPA – Independence                                               There are inaccurate references throughout     These inaccuracies matter because OPA is
                                                                          the TA to “SPD” or “Department” or “City”,     to be entirely independent of SPD in its
                                                                          when the reference should be to “OPA.”         operations. The TA needs to be clear as to
                                                                                                                         when authority rests with OPA and when it
                                                                                                                         rests elsewhere.
                                                                                                                         (Additional drafting and technical
                                                                                                                         corrections are needed throughout the TA;
                                                                                                                         see separate TA mark-up for those.)
3.29.105 OPA – Independence                                               Article 3.12 C.3 Any interview (which shall    For public trust and independence,
A. OPA shall be physically housed outside any SPD facility and be         not violate the employee's constitutional      interviews are intentionally not conducted
operationally independent of SPD in all respects. OPA’s location and      rights) shall take place at a Seattle Police   in an SPD facility, but are conducted in
communications shall reflect its independence and impartiality. . .       facility, except when impractical.             OPA’s office or elsewhere. (OPA was in the
                                                                                                                         Seattle Municipal Tower, but is now in an
                                                                                                                         office building on 3rd Avenue.) This
                                                                                                                         sentence is not needed in the TA, but if it is
                                                                                                                         included, it should simply say that when
                                                                                                                         OPA interviews employees, those
                                                                                                                         interviews “shall take place at OPA”, not
                                                                                                                         “shall take place at a Seattle Police facility.”
3.29.120 OPA Director – Authority and responsibility                      Appendix E.12 See comments.                    This section is cited in Appendix E.12 but
B. Hire, supervise, and discharge OPA civilian staff, and supervise and                                                  there is no italicized summary of the
transfer out of OPA any sworn staff assigned to OPA. OPA staff shall                                                     parties’ agreement. See endnote.
                                                                             6
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Ordinance 315215 Language (Followed by Additional System Issues)              Related SPOG TA Language             Comments
collectively have the requisite credentials, skills, and abilities to fulfill
the duties and obligations of OPA set forth in this Chapter 3.29.
3.29.120 OPA Director – Authority and responsibility                Article 3.11 A-D                                 The Ordinance provides for Rapid
D. Oversee and strengthen the effectiveness of OPA investigations,  A. The parties agree to pilot a process of       Adjudication (RA), which was a
Supervisor Action referrals, mediation, Rapid Adjudication, and other
                                                                    Rapid Adjudication during the term of this       recommended reform to quickly resolve
alternative resolution processes, as well as Management Actions and Agreement. There are situations when an          certain types of cases of misconduct, which
Training Referrals. The OPA Director shall, in consultation with CPC and
                                                                    employee recognizes that their conduct           often is better for all involved; tie
OIG, make and maintain a fair and effective mediation program and a was inconsistent with required standards         accountability to the behavior sooner,
fair and effective Rapid Adjudication process.                      and is willing to accept discipline for the      which is an important principle of
                                                                    policy violation rather than requiring an        effectiveness; and save time and resources
                                                                    extensive investigation by OPA.                  for other investigations. In RA, the named
                                                                                                                     employee immediately acknowledges a
                                                                    B.1 Employee Initiated. Included in the
                                                                                                                     policy violation and appropriate discipline is
                                                                    initial notice will be information about the
                                                                                                                     imposed without an investigation. For
                                                                    Rapid Adjudication process. Within five (5)
                                                                                                                     example, if an employee failed to get a
                                                                    days of receiving the initial notice under
                                                                                                                     required approval, meet annual training
                                                                    3.6.A, the employee may request starting
                                                                                                                     requirements, complete a supervisory use
                                                                    Rapid Adjudication. The OPA (in
                                                                                                                     of force review within the mandated
                                                                    consultation with the Chief or designee) will
                                                                                                                     timeline, or use in-car video, there would
                                                                    have ten (10) days to determine whether
                                                                                                                     be an expedited process for acknowledging
                                                                    the case is appropriate for Rapid
                                                                                                                     the violation, with appropriate discipline
                                                                    Adjudication and if so, to provide a
                                                                                                                     imposed using a discipline matrix, and with
                                                                    recommendation for discipline or a range of
                                                                                                                     no appeals allowed. It would also help
                                                                    discipline to the Chief (or designee). If the
                                                                                                                     strengthen SPD’s culture of accountability,
                                                                    Chief (or designee) accepts the
                                                                                                                     making it clear that acknowledging
                                                                    recommendation for Rapid Adjudication
                                                                                                                     mistakes is encouraged. For this reason, the
                                                                    and the discipline or range of discipline
                                                                                                                     employee’s file would reflect resolution
                                                                    recommended, then OPA will inform the
                                                                                                                     through the RA alternative.
                                                                    employee (the “Acceptance Notice”) and
                                                                    the 30-day period for submittal of the           Also, the Ordinance provides that the RA
                                                                    classification report and the 180-day period     program (and presumably its governing
                                                                    for investigation will be tolled upon notice     policies) be refined in consultation with CPC
                                                                    to the employee. If the discipline involves      and OIG (See also 3.29.100.F). The TA also
                                                                    suspension, the range of proposed                has some key elements missing or in error.
                                                                    discipline shall be a variance of no more        For example, it does not provide for
                                                                    than three (3) days. The employee shall          documenting RA resolutions in employee
                                                                    have five (5) days to accept the discipline or   files and refers to a disciplinary appeal of
                                                                    range of discipline. If the offer is not         an RA case.
                                                                    accepted by the employee, the matter will
                                                                                                                     RA was to be piloted when first
                                                                    be returned to OPA for investigation, with
                                                                                                                     recommended in January 2014 so that it
                                                                    the 30 and 180-day timelines re-started at
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Ordinance 315215 Language (Followed by Additional System Issues)    Related SPOG TA Language                 Comments
                                                                   that time. If accepted, the employee’s    could be fully implemented in the union
                                                                   acceptance shall close the case. In cases contacts. Implementation may now again
                                                                   where a range of discipline has been      be delayed, and limited to just a pilot
                                                                   offered, the employee may request to meet project governed by practices outlined in
                                                                   with the Chief to provide the Chief with  the TA that are not entirely consistent with
                                                                   information that the employee would like  those intended.
                                                                   the Chief to consider in making a final
                                                                   determination on the amount of discipline
                                                                   within the range. The employee may have a
                                                                   Guild Rep at any such meeting.
                                                                    2. OPA Initiated. Prior to a classification
                                                                    report being issued, OPA may review the
                                                                    case and make a determination as to
                                                                    whether OPA believes the case is
                                                                    appropriate for Rapid Adjudication. If so,
                                                                    OPA will set forth the discipline, or range of
                                                                    discipline, it recommends and forward it to
                                                                    the Chief (or designee). The Chief (or
                                                                    designee) will approve or disapprove the
                                                                    recommendation for Rapid Adjudication,
                                                                    and the recommended discipline (or range
                                                                    of discipline) to be offered to the employee.
                                                                    For those cases approved by the Chief (or
                                                                    designee), at or prior to the time that the
                                                                    classification report is issued, the OPA will
                                                                    provide notice to the employee explaining
                                                                    Rapid Adjudication and include the
                                                                    employee’s option to elect Rapid
                                                                    Adjudication. The notice will include the
                                                                    proposed discipline (or a range of proposed
                                                                    discipline) that would be imposed if the
                                                                    employee elects to have the matter rapidly
                                                                    adjudicated. If the discipline involves
                                                                    suspension, the range of proposed discipline
                                                                    shall be a variance of no more than three (3)
                                                                    days.
                                                                    Within five (5) days after receipt of the offer
                                                                    for Rapid Adjudication, an employee may
                                                                    inform OPA in writing, that the employee will
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Ordinance 315215 Language (Followed by Additional System Issues)    Related SPOG TA Language                     Comments
                                                                   utilize the Rapid Adjudication process and
                                                                   accepts the proposed discipline. Upon
                                                                   notification by the employee to the City of
                                                                   acceptance, the case will be closed. In cases
                                                                   where a range of discipline has been
                                                                   offered, the employee may request to meet
                                                                   with the Chief to provide the Chief with
                                                                   information that the employee would like
                                                                   the Chief to consider in making a final
                                                                   determination on the amount of discipline
                                                                   within the range. The employee may have a
                                                                   Guild Rep at any such meeting.
                                                                          C. In all cases using Rapid Adjudication, the
                                                                          discipline imposed by the Chief will be final
                                                                          and binding and not subject to challenge or
                                                                          appeal through either the grievance
                                                                          procedure or the Public Safety Civil Service
                                                                          Commission. The discipline shall be non-
                                                                          precedent setting, although it may be used
                                                                          in any subsequent proceeding involving that
                                                                          employee.
                                                                          D. Neither the Department’s proposed
                                                                          discipline, the willingness of the
                                                                          Department, OPA, and the employee to
                                                                          consider utilizing Rapid Adjudication, or
                                                                          rejection of Rapid Adjudication by the
                                                                          employee, may be offered as evidence in
                                                                          any subsequent proceeding. Additionally, if
                                                                          the employee rejects Rapid Adjudication,
                                                                          the fact that Rapid Adjudication was
                                                                          rejected will not be considered in any future
                                                                          deliberations on the case or in deciding any
                                                                          potential discipline. The rejection will not
                                                                          be part of the case file, but may be tracked
                                                                          by OPA/OIG for purposes of systemic
                                                                          review.
3.29.120 OPA Director – Authority and responsibility                       Appendix E.12 See comments                     This section is cited in Appendix E.12 but
E. Ensure OPA policies and practices are detailed in, and in compliance                                                   there is no italicized summary of the
with, the OPA Manual, which shall be updated at least annually. Such                                                      parties’ agreement. See endnote.
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updates shall be done in accordance with a process established by the
OPA Director that provides for consultation and input by OIG and CPC
prior to final adoption of any updates.
3.29.125 OPA – Classifications and investigations                           Appendix E.12 The City agrees that these       The agreement in the TA also states that
A. When necessary, the OPA Director may issue a subpoena at any             sections of the Ordinance will not be          “the City [will] further [review] … the
stage in an investigation if evidence or testimony material to the          implemented at this time with regard to        potential need for OPA and the OIG to issue
investigation is not provided to OPA voluntarily, in order to compel        bargaining unit employees and their family     such subpoenas” prior to a possible re-
witnesses to produce such evidence or testimony. If the subpoenaed          members, and third party subpoenas             opening to address the issue of OPA or OIG
individual or entity does not respond to the request in a timely manner,    seeking personal records of such               access to “personal records.” If the TA’s
the OPA Director may ask for the assistance of the City Attorney to         employees and their family members. After      intent is to assume bank records, medical
pursue enforcement of the subpoena through a court of competent             the City further reviews questions raised      records, and the like are “personal
jurisdiction.                                                               concerning the authority and potential         records,” this exclusion covers a significant
                                                                            need for OPA and the OIG to issue such         amount of potentially important
3.29.240 OIG – IG – Authority and responsibility                            subpoenas, the City may re-open the            evidentiary information .
K. Issue a subpoena if evidence or testimony necessary to perform the       Agreement for the purpose of bargaining
                                                                                                                           As noted each time the recommendation
duties of OIG set forth in this Chapter 3.29 is not provided voluntarily,   over these sections of the Ordinance and
                                                                                                                           for subpoena power has been made over
in order to compel witnesses to produce such evidence or testimony. If      the parties will complete bargaining prior
                                                                                                                           the years, other City agencies that conduct
the subpoenaed individual or entity does not respond to the request in      to the OIG or OPA issuing subpoenas to
                                                                                                                           investigations (e.g., SEEC and OCR) have
a timely manner, the Inspector General may ask for the assistance of        bargaining unit employees and their family
                                                                                                                           this authority.
the City Attorney to pursue enforcement of the subpoena through a           members, or a third party subpoena
court of competent jurisdiction.                                            seeking the personal records of such
                                                                            employees and their family members.
3.29.125 OPA – Classifications and investigations                           Article 3.6.F.6 All interviews shall be        The Ordinance requires all named
B. …Unless the OPA Director determines exigent circumstances require        digitally audio recorded and transcribed       employee and witness interviews to be
otherwise, all SPD employee interviews shall be conducted in-person.        unless the employee objects. Interviews        recorded and transcribed, and all
All interviews shall be audio-recorded and transcribed, except any          that are not digitally [sic] audio recording   recordings and transcriptions retained in
interviews conducted before a Rapid Adjudication disposition. If an         for transcription by OPA shall be recorded     the investigative files.
interview is transcribed both the recording and the transcription shall     by a court reporter or stenographer. The
be retained in the OPA case file.                                           employee and/or entity requesting a court
                                                                            reporter or stenographer shall pay all
                                                                            appearance fees and transcription costs
                                                                            assessed by the court reporter or
                                                                            stenographer and shall make available to
                                                                            the other party an opportunity to obtain a
                                                                            copy of any transcription.
3.29.125 OPA – Classifications and investigations                           Appendix E.12 The investigation plan shall     Providing the investigation plan to SPOG
F. Every OPA investigation shall have an investigation plan approved by     be produced to the Guild after completion      will not further trust in the system’s
the OPA Director or the OPA Director’s designee prior to the initiation     of the investigation and prior to the due      fairness.
of an investigation…                                                        process hearing.
3.29.125 OPA – Classifications and investigations                           Appendix E.12 In the event the Chief meets     The purpose of this recommended reform
                                                                              10
                                           Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)          Related SPOG TA Language                     Comments
G. In cases where a Sustained finding has been recommended by the         with a complainant as provided in this       was to provide a fairer system by allowing
OPA Director and hearing from the complainant would help the Chief        section, notes will be taken at the meeting, the complainant to be heard in-person, at
better understand the significance of the concern or weigh issues of      and a copy of those notes will be made       least in some cases, by the Chief, as
credibility, the OPA Director may recommend that the Chief meet with      available to the Guild.                      employees are afforded the opportunity to
the complainant prior to the Chief making final findings and disciplinary                                              do. The Chief is not required to take notes
decisions.                                                                                                             and share them with the public when the
                                                                                                                       Chief meets with the employee. The TA
                                                                                                                       term requiring the Chief to share notes
                                                                                                                       when the Chief meets with a complainant
                                                                                                                       will not further trust in the system’s
                                                                                                                       fairness. While it may be helpful on appeal
                                                                                                                       for there to be notes in some instances,
                                                                                                                       that is not something that should be
                                                                                                                       directed by SPOG. Nor should the Chief be
                                                                                                                       required to share these notes with SPOG.
3.29.130 OPA – Classification and investigation timelines                  Article 3.1.A Except in criminal            The Ordinance eliminates the five-day
A. OPA shall notify named employees, the Captain or equivalent of the      investigations or where notification would  notice and provides for notice (and
named employees, and the bargaining unit of the named employees            jeopardize the investigation (the most      classification) within 30 days. Extending this
within 30 days of receiving directly or by referral a complaint of         common example being ongoing acts of        initial period allows OPA to conduct more
possible misconduct or policy violation. The notice shall by default not   misconduct), OPA shall notify the named     thorough intake before determining the
include the name and address of the complainant, unless the                employee of the receipt of a complaint,     possible violations and notifying the
complainant gives OPA written consent for disclosure after OPA             including the basic details of the complaint,
                                                                                                                       employee. The TA reinstates the five-day
communicates to the complainant a full explanation of the potential        within five (5) business days after receipt of
                                                                                                                       notice.
consequences of disclosure. The notice shall confirm the complaint and     the complaint by OPA. The OPA shall
                                                                                                                               In Article 3.1.A, the TA does not incorporate
enumerate allegations that allow the named employees to begin to           furnish the employee and the Guild with a
                                                                                                                               Ordinance language that allows OPA to
prepare for the OPA investigation; however, if OPA subsequently            classification report no later than thirty (30)
                                                                                                                               investigate additional allegations not listed
identifies additional allegations not listed in the 30-day notice, these   days after receipt of the complaint by the
                                                                                                                               in the 30-day notice. By not explicitly
may also be addressed in the investigation.                                OPA. The classification report shall include,
                                                                                                                               incorporating this provision, the TA appears
                                                                           at a minimum, i) a copy of the complaint, ii)
                                                                                                                               to have eliminated this reform.
                                                                           the results of the OPA’s preliminary review
                                                                           of the complaint, iii) the title and section        Identifying the complainant to the named
                                                                           (e.g. – 8.04 is Title 8, Section 4) of the policy   employee has a potential chilling effect.
                                                                           or policies that the employee potentially           The TA obliquely cites that some
                                                                           violated, iv) a meaningful, detailed                complaints may be anonymous, while
                                                                           description of the employee’s alleged               noting that “the issue of how OPA should
                                                                           actions that potentially violate the                deal with them when providing
                                                                           Department’s policies, and, v) if the OPA           information” is a re-opener (Appendix H).
                                                                           intends to investigate the complaint, the           The TA does not appear to align with the
                                                                           procedures it intends to use in investigating       intention to guarantee complainant
                                                                           the complaint (e.g., OPA investigation or           anonymity; per the Ordinance, the
                                                                             11
                                      Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)   Related SPOG TA Language                      Comments
                                                                   line investigation). In order to ensure       complainant may not be identified unless
                                                                   mutual understanding of this provision, the agreed to by the complainant; and while
                                                                   parties have included examples in Appendix Article 3.12.C.1 may intend to refer to the
                                                                   H. In the case of allegations involving       address of the incident, including “name”
                                                                   discrimination, harassment, retaliation or    suggests it refers to the name of the
                                                                   other Equal Employment Opportunity (EEO) complainant.
                                                                   laws, the classification report will indicate
                                                                                                                 Article 3.6.F should say: “unless waived by
                                                                   whether the investigation will be managed
                                                                                                                 the employee.” Sometimes employees are
                                                                   through the Seattle Department of Human
                                                                                                                 fine with quicker interviews. It has been
                                                                   Resources (SDHR). No employee may be
                                                                                                                 unclear in the past whether an employee’s
                                                                   interviewed until the employee has been
                                                                                                                 stated preference to proceed and OPA’s
                                                                   provided the classification report.
                                                                                                                 documentation of that preference is an
                                                                   Article 3.12. C.1. The employee shall be      acceptable waiver to normal TA terms.
                                                                   informed in writing if the employee so
                                                                   desires of the nature of the investigation
                                                                   and whether the employee is a witness or a
                                                                   named employee before any interview
                                                                   commences, including the name, address of
                                                                   the alleged misconduct and other
                                                                   information necessary to reasonably apprise
                                                                   him of the allegations of such Complaint …
                                                                            Article 3.6.F. At least five (5) calendar days
                                                                            and no more than thirty (30) days prior to
                                                                            the interview, the OPA shall provide notice
                                                                            to the Guild and the employee being
                                                                            interviewed. The Chief of Police, or Acting
                                                                            Chief of Police in the event the Chief is
                                                                            unavailable, may determine that notice of
                                                                            not less than one (1) calendar day is
                                                                            appropriate for interviews in a specific case
                                                                            due to exigent circumstances …
3.29.130 OPA – Classification and investigation timelines                    Article 3.7 ... In the event the Department     The TA does not adopt a key reform that
(with respect only to cases involving possible criminal actions)             is conducting an OPA investigation while        pauses the 180-day clock any time a
G. In cases involving possible criminal actions, if an OPA administrative    the matter is being considered by a             criminal investigation is outside OPA’s
investigation is not commenced or is paused due to a criminal                prosecuting authority, the 180-day timeline     control. The TA also treats criminal cases
investigation, that time shall not be counted as part of the 180-day         provision continues to run. The criminal        investigated by SPD differently than those
investigation period, and shall be documented in an administrative           investigation shall become part of the          investigated by other law enforcement
intake or investigation follow-up log in the investigation file. The OPA     administrative investigation. The Chief of      agencies by pausing the clock when the
administrative investigation shall be paused as long as is necessary so      Police may, at his/her discretion, request      case is being investigated by outside
                                                                              12
                                          Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)       Related SPOG TA Language                 Comments
that neither the OPA administrative nor the criminal investigation of   that an outside law enforcement agency  agencies, but not when the investigation is
the same incident is compromised. The 180-day clock shall resume        conduct a criminal investigation.       conducted by SPD (which is most common).
whenever any administrative investigation steps are taken by OPA.
                                                                                                                         There is an incorrect reference in the TA to
                                                                                                                         the Department conducting an OPA
                                                                                                                         investigation. SPD does not conduct OPA
                                                                                                                         investigations, but may assist OPA in its
                                                                                                                         investigation.
3.29.130 OPA – Classification and investigation timelines                  Article 3.6.B. Except in cases where the      The Ordinance intentionally did not tie the
B. The time period in which investigations must be completed by OPA is     employee is physically or medically           imposition of discipline to the 180-day
180 days. The time period begins on the date OPA initiates or receives a   unavailable to participate in the internal    timeline, and instead tied the timeline to
complaint. The time period ends on the date the OPA Director issues        investigation, no discipline may result from performance reviews by OPA. Additionally,
proposed findings.                                                         the investigation if the investigation of the in the event discipline remained tied to the
                                                                           complaint is not completed within one-        timeline, because the imposition of
E. If an OPA interview of a named or witness employee must be
                                                                           hundred eighty (180) days after the 180-day discipline has so often been challenged due
postponed due to the unavailability of the interviewee or the
                                                                           start date (the 180 Start Date) or (if        to lack of clarity about the 180-day
interviewee’s labor representative, the additional number of days
                                                                           submitted to the prosecutor within one        timeline, the Ordinance was very specific
needed to accommodate the schedule of the employee or the
                                                                           hundred eighty (180) days) thirty (30) days   and concrete in defining it, in setting forth
employee’s bargaining representative shall not be counted as part of
                                                                           after receipt of a decline notice from a      the circumstances under which the
the 180-day investigation period.
                                                                           prosecuting authority or a verdict in         deadline could be extended, the length of
F. If the OPA Director position becomes vacant due to unforeseen           criminal trial, whichever is later. The 180   time allowed for those extensions, and
exigent circumstances, the 180-day period shall be extended by 60 days     Start Date begins on the earliest of the      when the 180-day period was to be paused.
to permit the designation of an interim OPA Director and the initiation    following:                                    There should be no ambiguity about any of
of the appointment process for a permanent OPA Director.                                                                 these terms. Articles 3.6.B, C, and D should
                                                                           i. Receipt/initiation of a complaint by the
                                                                                                                         have been entirely eliminated to align with
                                                                           OPA;
                                                                                                                         these critical reforms and the extensions
                                                                           ii. Receipt/initiation of a formal complaint  provided for should have been included.
                                                                           by a sworn supervisor alleging facts that, if
                                                                           true, could without more constitute a           In two places, Article 3.6.B refers to
                                                                           serious act of misconduct violation, as long    “verdicts” or “guilty pleas” but does not
                                                                           as the supervisor forwards the matter to        account for other types of dispositions.
                                                                           OPA within forty-eight (48) hours of receipt.   TA sections 3.6.B.(i)-(v) muddy a clear
                                                                           For cases of less than serious acts of          definition of the start-date, which should
                                                                           misconduct, the 180 Start Date will begin       simply be when OPA receives or initiates a
                                                                           with the receipt of information where the       complaint, regardless of whether it is
                                                                           supervisor takes documented action to           formal, without distinctions based on the
                                                                           handle the complaint (for example a             seriousness of the allegations, or associated
                                                                           documentation in the performance                with when the complaint in entered in Blue
                                                                           appraisal system);                              Team, or whether OPA or OIG personnel are
                                                                           iii. For incidents submitted to the Chain of    at an incident.
                                                                           Command in Blue Team (or its successor),
                                                                             13
                                      Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)   Related SPOG TA Language                    Comments
                                                                   fourteen (14) days after the date on which  Articles 3.6.B.1 and 3.6.B.2 retain old
                                                                   the initial supervisor submits the incident contract language that incorrectly states
                                                                   for review to the Chain of Command;         that “the City” provides information and
                                                                   iv. OPA personnel present at the scene of   requests extensions from SPOG. Currently,
                                                                   an incident; or                             OPA provides this information and requests
                                                                                                               extensions.
                                                                     v. If the Office of the Inspector General
                                                                     (OIG) is present at the scene of an incident   Article 3.6.C requiring SPOG approval of
                                                                     at which OPA is not present, and if OIG        extensions undercuts OPA’s authority, and
                                                                     subsequently files a complaint growing out     SPOG’s duty of fair representation may
                                                                     of the incident, the date of the incident.     sharply narrow when they would agree to
                                                                     Provided, however, in the case of a criminal   such extensions. In Article 3.6.D, the first
                                                                     conviction, nothing shall prevent the          sentence should be removed, as well as the
                                                                     Department from taking appropriate             phrase “and a community member later
                                                                     disciplinary action within forty-five (45)     complains.” There should not be different
                                                                     days, and on the basis of, the judicial        approaches based on who the complainant
                                                                     acceptance of a guilty plea (or judicial       is. Also, this should not be limited to Type II
                                                                     equivalent such as nolo contendere) or         use of force. Similarly, Article 3.6.D.1
                                                                     sentencing for a criminal conviction.          includes a clause that effectively limits the
                                                                                                                    start-date recalculation to community
                                                                     For purposes of (iii) above, if following a
                                                                                                                    member complaints and, as noted
                                                                     Blue Team entry, the Chain of Command
                                                                                                                    elsewhere, SPOG approval of should not be
                                                                     concludes that no misconduct occurred,
                                                                                                                    required when exceptions are made to the
                                                                     and then material new evidence (including
                                                                                                                    180-day period. With respect to appealing
                                                                     video) is provided at a later date that
                                                                                                                    such exceptions, note that the Ordinance
                                                                     suggests serious misconduct did occur, then
                                                                                                                    expressly eliminates arbitration as an
                                                                     a new 180 Start Date is triggered on the
                                                                                                                    option, requiring these appeals go to the
                                                                     date that the new material evidence of
                                                                                                                    PSCSC.
                                                                     serious misconduct is provided.
                                                                                                                    In Article 3.6.B.2, the TA identifies when a
                                                                     1. If the OPA cannot immediately identify
                                                                                                                    pause in the 180-day period may occur
                                                                     the employee who is the subject of the
                                                                                                                    related to criminal prosecutions. The
                                                                     complaint, the OPA will provide the
                                                                                                                    reform was to make sure that this pause is
                                                                     required notifications to the Guild. Once
                                                                                                                    tied to any time the OPA investigation is on
                                                                     the OPA identifies the employee who is
                                                                                                                    hold while a criminal investigation is
                                                                     the subject of the complaint, the
                                                                                                                    ongoing, not just to the time when the
                                                                     notification process with respect to that
                                                                                                                    prosecutor reviews the case for a filing
                                                                     employee shall begin. In such cases, the
                                                                                                                    decision after the criminal investigation is
                                                                     180-day time limit provided in this section
                                                                                                                    completed. This is another important
                                                                     shall be temporarily held in abeyance if
                                                                                                                    reform that the TA eliminates.
                                                                     sixty (60) days have elapsed without
                                                                     identification of the employee. The 180-       As noted above, The TA again allows for the
                                                                       14
                                      Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)   Related SPOG TA Language                      Comments
                                                                   day time limit will continue from the point   180-day clock to start due to actions
                                                                   where it was held in abeyance (i.e., at day   outside the control and knowledge of OPA.
                                                                   61) when the OPA identifies and notifies      The OIG has also noted that in the event
                                                                   the employee of the complaint in              the OIG undertakes an OPA conflict
                                                                   accordance with subsection 3.6A above.        investigation, the same potential issue with
                                                                   The Guild will be contemporaneously           the time calculation would apply to OIG. In
                                                                   notified whenever the notification process    addition, OIG has authority to request or
                                                                   has stopped due to the Department’s           direct further investigation (3.29.260.D).
                                                                   inability to identify the employee who is     the OIG has also noted that in those cases,
                                                                   the subject of the complaint and will be      OPA must resubmit the case to OIG for
                                                                   notified contemporaneously whenever           certification before the OPA Director may
                                                                   the Department subsequently is able to        issue proposed findings. Any impacts of the
                                                                   identify the employee.                        TA on the 180-day investigation time limit
                                                                   2. In addition to those circumstances         will affect OIG’s ability to respond to OPA,
                                                                   defined in subsection B.1, above, the 180-    as well as the amount of time left for OPA
                                                                   day time period will be suspended when a      to issue findings.
                                                                   complaint involving alleged criminal
                                                                   conduct is being reviewed by a prosecuting
                                                                   authority or is being prosecuted at the city,
                                                                   state, county, or federal level or if the
                                                                   alleged conduct occurred in another
                                                                   jurisdiction and is being criminally
                                                                   investigated or prosecuted in that
                                                                   jurisdiction.
                                                                       Article 3.6.C 180-Day Extension Requests
                                                                       1. The OPA may request and the Guild will
                                                                       not unreasonably deny an extension of: (1)
                                                                       the thirty (30) day period for furnishing the
                                                                       employee a classification report, if the
                                                                       complaint was not referred by the sworn
                                                                       supervisor to his/her Chain of Command or
                                                                       the OPA in a timely manner; (2) the one-
                                                                       hundred eighty (180) day time restriction if
                                                                       the OPA has made the request before the
                                                                       one-hundred eighty (180) day time period
                                                                       has expired; has exercised due diligence in
                                                                       conducting the investigation of the
                                                                       complaint; and is unable to complete the
                                                                       investigation due to one of the following
                                                                         15
                                      Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)   Related SPOG TA Language                       Comments
                                                                   reasons: i) the unavailability of
                                                                   witnesses/named employee; ii) the
                                                                   unavailability of a Guild representative; iii)
                                                                   the OPA Director position becomes vacant
                                                                   due to unforeseen exigent circumstances;
                                                                   iv) when a complex criminal investigation
                                                                   conducted by the City takes an unusually
                                                                   long period of time to complete, and the
                                                                   City has exercised due diligence during the
                                                                   investigation; or v) other reasons beyond
                                                                   the control of the Department. A request
                                                                   for an extension due to the unavailability of
                                                                   witnesses must be supported by a showing
                                                                   by the Department that the witnesses are
                                                                   expected to become available within a
                                                                   reasonable period of time. The City’s
                                                                   request for an extension will be in writing.
                                                                   The Guild will respond to the request in
                                                                   writing, providing the basis for denial, and
                                                                   recognizing that the determination will be
                                                                   based on the information provided to it.
                                                                    2. The OPA may request an extension for
                                                                    reasons other than the reasons listed
                                                                    above; however, any denial shall not be
                                                                    subject to subsection C.1 above. Any
                                                                    approval or denial of a request for an
                                                                    extension other than the reasons listed in
                                                                    C.1 shall be non- precedential.
                                                                    3. Nothing in this section prohibits the OPA
                                                                    from requesting more than one extension
                                                                    during the course of an investigation.
                                                                    4. In determining whether an extension
                                                                    request under C1 was appropriately
                                                                    denied, the factors to be considered are
                                                                    the good faith of the parties, the facts and
                                                                    circumstances surrounding the request,
                                                                    and the information provided to the Guild
                                                                    by the City.
                                                                       16
                                      Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)   Related SPOG TA Language                     Comments
                                                                   Article 3.6.D. 180 Start Date Re-calculation
                                                                   When a community member complains
                                                                   about an incident, the OPA will generally
                                                                   investigate even in situations where the
                                                                   180-day period for investigation may have
                                                                   expired. In the event an incident that was
                                                                   or should have been determined to be a
                                                                   Type II Use of Force, Bias, or Pursuit is
                                                                   entered into Blue Team, reviewed by the
                                                                   Chain of Command, the Chain of Command
                                                                   does not forward the incident to OPA, and
                                                                   a community member later complains, the
                                                                   OPA may initiate the following process to
                                                                   determine whether a re-calculation of the
                                                                   180 Start Date is appropriate.
                                                                   1. If OPA’s investigation results in an OPA
                                                                   recommended finding that: (i) serious
                                                                   misconduct occurred, and that (ii) the
                                                                   serious misconduct was or should have
                                                                   been determined by the Chain of
                                                                   Command to be a violation of the Type II
                                                                   Use of Force, Bias, or Pursuit policy (or
                                                                   policies), OPA may request in writing that
                                                                   the 180 Start Date be recalculated to
                                                                   commence effective on the day of the
                                                                   community member’s complaint. Such
                                                                   requests may not be unreasonably denied
                                                                   by the Guild. In the event the Guild denies
                                                                   the re-calculation, the Guild shall explain in
                                                                   writing the reason for the denial, and the
                                                                   matter will be resolved by the Chief, as
                                                                   provided below. If OPA recommends a
                                                                   finding that the serious misconduct
                                                                   described above occurred, it will forward
                                                                   its recommendations to the Chief. After
                                                                   reviewing OPA’s recommendations, and
                                                                   offering a due process hearing where
                                                                   required, the Chief will determine in
                                                                   writing whether the matter was
                                                                   appropriate for re-calculation, and if so,
                                                                      17
                                      Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)   Related SPOG TA Language                      Comments
                                                                   whether the findings of OPA should be
                                                                   sustained and discipline imposed. The
                                                                   Chief’s decision on re-calculation as well as
                                                                   any discipline issued are subject to
                                                                   arbitration.
                                                                               2. In the event a Bias or Pursuit incident
                                                                               entered into Blue Team is recalculated
                                                                               pursuant to D.1. above, and there was a
                                                                               Type I Use of Force in the same incident
                                                                               that was serious misconduct, which was
                                                                               not previously reported to OPA, then the
                                                                               recalculated 180 Start Date from the
                                                                               Bias/Pursuit incident will be applied to the
                                                                               Type I Use of Force.
3.29.130 OPA – Classification and investigation timelines                      Appendix E.12 The City agrees that [section     In agreeing to not implement section
I. To ensure the integrity and thoroughness of investigations, and the         3.29.130.I] will not be implemented during      3.29.130.I, the TA fails to achieve the
appropriateness of disciplinary decisions, if at any point during an OPA       the term of this Agreement (including any       reform that new information may not be
investigation the named employee or the named employee’s                       holdover period). Instead, the parties will     raised in the due process hearing (or on
bargaining representative becomes aware of any witness or evidence             implement the following provisions. This        appeal) if known by the employee or SPOG
that the named employee or the employee’s bargaining representative            agreement does not in any way change or         and not disclosed during the OPA
believes to be material, they shall disclose it as soon as is practicable to   impact the application of any evidentiary       investigation. Under Article 3.5.F, the TA
OPA, or shall otherwise be foreclosed from raising it later in a due           standards applicable in grievance               also unduly limits time extensions for
process hearing, grievance, or appeal. Information not disclosed prior         arbitration. In the interest of the Chief       investigating new material evidence,
to a due process hearing, grievance, or appeal shall not be allowed into       receiving relevant information prior to         countering the Ordinance provision that
the record after the OPA investigation has concluded if it was known to        making a disciplinary decision, the parties     allows 60 additional days, to ensure
the named employee or the named employee’s bargaining                          have agreed that in the event new material      sufficient time for OPA to follow-up on any
representative during the OPA investigation, and if OPA offered the            evidence is presented to the Chief at a due     new evidence presented at the due process
employee an opportunity to discuss any additional information and              process hearing, the Chief may return the       hearing and for OPA’s additional
suggest any additional witnesses during the course of the employee’s           matter to OPA, and the 180-day period will      investigation to be certified by the OIG.
OPA interview.                                                                 be extended to allow the OPA to investigate
                                                                                                                               Article 3.5.F also conflicts with the
                                                                               the new evidence and provide it to the
J. If further investigation is initiated because new information is                                                            Ordinance definition of the 180-day
                                                                               Chief (see Article 3.5F) of the Agreement).
brought forward during an OPA interview or a due process hearing, or                                                           investigation period (beginning on the date
                                                                               Additionally, in order to minimize the
because of any additional investigation directed by OIG, the 180-day                                                           OPA initiates or receives a complaint and
                                                                               likelihood that either party is unduly
investigation time period shall be extended by 60 days.                                                                        ending on the date the OPA Director issues
                                                                               surprised at an appeal hearing, the parties
                                                                                                                               proposed findings). Both the TA start date
                                                                               agree that fifteen days prior to a discipline
                                                                                                                               (see Article 3.6.B) and the TA end date
                                                                               appeal hearing, each party will disclose any
                                                                                                                               (when the Disciplinary Action Report is
                                                                               experts not previously used in the due
                                                                                                                               issued) are inconsistent with the Ordinance,
                                                                               process hearing or the grievance procedure.
                                                                                                                               which purposefully established well-defined
                                                                                 18
                                      Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)   Related SPOG TA Language                      Comments
                                                                   Article 3.5.F Unless further investigation is time parameters that are entirely within
                                                                   deemed necessary, the Chief shall make a      OPA’s control (See 3.29.130.B).
                                                                   good faith effort to make the final decision
                                                                                                                 The TA language in Appendix E.12 also
                                                                   within ten (10) days as to whether charges
                                                                                                                 conflicts with the intended reform to not
                                                                   should be sustained, and if so, what
                                                                                                                 allow the grievance process to be used for
                                                                   discipline, if any, should be imposed, after
                                                                                                                 disciplinary appeals, as well as with the
                                                                   considering the information presented in
                                                                                                                 reform of the evidentiary standard for
                                                                   any due process hearing. If new material
                                                                                                                 disciplinary appeals.
                                                                   facts are revealed by the named employee
                                                                   during the due process hearing and such
                                                                   new material facts may cause the Chief to
                                                                   act contrary to the OPA Director’s
                                                                   recommendation, the case will be sent
                                                                   back to the OPA for further investigation.
                                                                   The 180-day period for investigation will
                                                                   be extended by an additional sixty (60)
                                                                   days, less any time remaining on the 180-
                                                                   day clock (i.e. – if at one hundred twenty
                                                                   (120) days on the clock, then no extension;
                                                                   if at one hundred fifty (150) days, then an
                                                                   additional thirty (30) days; if at one
                                                                   hundred eighty (180) days, then an
                                                                   additional sixty (60) days).
                                                                       The 180-day period runs from the 180 Start
                                                                       Date (see 3.6B) until the proposed
                                                                       Disciplinary Action Report is issued. If
                                                                       further investigation is warranted the 180-
                                                                       day period begins to run again the day after
                                                                       the due process hearing and will not
                                                                       include the time between issuance of the
                                                                       proposed Disciplinary Action Report and
                                                                       the due process hearing …
3.29.135 OPA—Explanations of certain complaint dispositions            Article 3.1 ...The standard of review and      An MOA supplementing the existing CBA
F. Termination is the presumed discipline for a finding of material    burden of proof in labor arbitration will be   had a higher burden of proof for an initial
dishonesty based on the same evidentiary standard used for any other   consistent with established principles of      allegation of dishonesty that could result in
allegation of misconduct.                                              labor arbitration. For example, and without    termination, “clear and convincing,” rather
                                                                       limitation on other examples or                than “preponderance.” The reform was to
                                                                       applications, the parties agree that these     set the standard at preponderance (the
                                                                       principles include an elevated standard of     long-standing standard for all findings and
                                                                       review (i.e. – more than preponderance of      discipline except in a first instance of
                                                                         19
                                      Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)   Related SPOG TA Language                      Comments
                                                                   the evidence) for termination cases where     dishonesty resulting in termination) for all
                                                                   the alleged offense is stigmatizing to a law  misconduct findings and discipline,
                                                                   enforcement officer, making it difficult for  including dishonesty. The Federal Court
                                                                   the employee to get other law enforcement agreed with this reform, but the TA instead
                                                                   employment. In the case of an officer         creates an ambiguous “elevated standard
                                                                   receiving a sustained complaint involving     of review” for a broad set of misconduct
                                                                   dishonesty in the course of the officer’s     cases. (Any misconduct for which an
                                                                   official duties or relating to the            employee is fired, including dishonesty, is
                                                                   administration of justice, a presumption of   “stigmatizing” and makes it “difficult for the
                                                                   termination shall apply. Dishonesty is        employee to get other law enforcement
                                                                   defined as intentionally providing false      employment.”) Thus, the TA not only
                                                                   information, which the officer knows to be    changes the “preponderance” standard for
                                                                   false, or intentionally providing incomplete dishonesty, it also subjects many other
                                                                   responses to specific questions, regarding    misconduct allegations to the as-yet
                                                                   facts that are material to the investigation. undefined “elevated standard of review.”
                                                                   Specific questions do not include general or De facto, the City is taking the position that,
                                                                   “catch-all” questions. For purposes of this   because an arbitrator may not uphold
                                                                   Section dishonesty means more than mere       termination based on a preponderance
                                                                   inaccuracy or faulty memory.                  standard, regardless of contractual
                                                                                                                 requirements, instead of appealing when
                                                                                                                 that occurs, the City is agreeing to
                                                                                                                 preemptively impose a higher standard.
                                                                                                                 Both OPA and the Chief will then also have
                                                                                                                 to use this higher standard for this wide
                                                                                                                 span of misconduct cases leading to
                                                                                                                 termination, as both will need to use a
                                                                                                                 standard that will be sustained on review.
                                                                                                                 Note also, that this is tied to the TA not
                                                                                                                 implementing the appeals process reform
                                                                                                                 that required use of the PSCSC and hearing
                                                                                                                 examiner, thus eliminating the use of
                                                                                                                 arbitrators, and attendant risk of them not
                                                                                                                 following contract provisions, that
                                                                                                                 seemingly is the rationale for this change.
                                                                                                                    The TA defines dishonesty as intentionally
                                                                                                                    providing false information. A key reform
                                                                                                                    was to remove intentionality from the
                                                                                                                    definition of dishonesty because it is nearly
                                                                                                                    impossible to prove.
                                                                          20
                                          Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)       Related SPOG TA Language                 Comments
                                                                                                                Another problem with the TA is that this
                                                                                                                section continues to state that the
                                                                                                                obligation to be truthful and complete in all
                                                                                                                communications is only tied to OPA
                                                                                                                investigations. This conflicts with SPD policy
                                                                                                                5.001 that employees must be truthful and
                                                                                                                complete in all communications, (e.g.
                                                                                                                employees must be truthful when testifying
                                                                                                                in court, completing incident reports,
                                                                                                                conducting Use of Force reviews, and in all
                                                                                                                other aspects of their work.)
3.29.135 OPA—Explanations of certain complaint dispositions                      Article 3.5.G When the Police Chief
                                                                                                                This TA language is inconsistent in several
A. If there is disagreement between the Chief and the OPA Director as            changes a recommended finding from the
                                                                                                                ways with the intended reform to ensure
to the OPA Director’s recommendations on findings, the Chief and the             OPA, the Chief will be required to state
                                                                                                                sufficient transparency both when the Chief
OPA Director shall engage in a supplemental meeting to discuss the               his/her reasons in writing and provide
                                                                                                                finds differently than the OPA Director and
disagreement, which shall occur after an employee due process                    these to the OPA Director. A summary of
                                                                                                                when a finding or disciplinary decision is
meeting has taken place.                                                         the Chief’s decisions will be provided to the
                                                                                                                overturned on appeal. The TA does not
                                                                                 Mayor and City Council. In stating his/her
                                                                                                                include the Ordinance requirements for
B. If the Chief decides not to follow one or more of the OPA Director’s
                                                                                 reasons in writing for changing an OPA
                                                                                                                notifying the City Attorney, the OPA
written recommendations on findings following an OPA investigation,
                                                                                 recommendation from a sustained finding,
                                                                                                                Director, the OIG, and the CPC, and the
the Chief shall provide a written statement of the material reasons for
                                                                                 the Chief shall use a format that discloses
                                                                                                                public and complainant, of these changes.
the decision within 30 days of the Chief’s decision on the disposition of
                                                                                 the material reasons for his/her decision.
                                                                                                                It also does not include the requirement
the complaint. If the basis for the action is personal, involving family or
                                                                                 The explanation shall make no reference to
                                                                                                                that this information be retained in the
health-related circumstances about the named employee, the
                                                                                 the officer’s name or any personally
                                                                                                                OPA case file or the requirement that the
statement shall refer to “personal circumstances” as the basis. The
                                                                                 identifying information in providing the
                                                                                                                City Attorney send the written statement if
written statement shall be provided to the Mayor, the Council
                                                                                 explanation. In the event the change of
                                                                                                                the change occurs pursuant to a grievance
President and the Chair of the public safety committee, the City
                                                                                 recommendation is the result of personal,
                                                                                                                or appeal.
Attorney, the OPA Director, the Inspector General, and the CPC
                                                                                 family, or medical information the Chief’s
Executive Director, and be included in the OPA case file and in a
                                                                                 explanation shall reference “personal           These reforms were adopted to address
communication with the complainant and the public. If any findings or
                                                                                 information” as the basis of his decision.      serious problems identified in a 2014
discipline resulting from an investigation are changed pursuant to an
                                                                                                                                 disciplinary system review.
appeal or grievance, this responsibility shall rest with the City Attorney.
3.29.140 OPA – Staffing                                                          Article 7.10 It is agreed that non-sworn        It should be noted that pursuant to the
A. The OPA Director and the Deputy Director shall be civilians and,              personnel shall neither be dispatched to,       Consent Decree, OPA civilian staff are
      within 18 months of the effective date of the ordinance introduced         nor assigned as a primary unit to,              routinely involved at Force Investigation
      as Council Bill 118969, all investigative supervisors shall be civilian.   investigate any criminal activity.              Team call-outs and with Type III Use of
B. All OPA staff working directly with SPD supervisors to support the                                                            Force incidents. Some of these may involve
                                                                                 Appendix D. The parties agree as follows:
      handling of minor violations and public access to the accountability                                                       allegations of criminal activity.
                                                                                 1. Unless otherwise agreed, at any time
      system shall be civilians.
                                                                                 after the date of signing, the City may         The TA’s limit of two civilian investigators
C. Within 12 months of the effective date of the ordinance introduced
                                                                                 replace up to two (2) sworn investigator        could last far beyond the current expiration
      as Council Bill 118969, intake and investigator personnel shall be
                                                                                   21
                                              Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)           Related SPOG TA Language                     Comments
    entirely civilian or a mix of civilian and sworn, in whatever staffing positions (Sergeant positions currently      date of this contract, since the contract
    configuration best provides for continuity, flexibility, leadership    filled by Sergeants or Acting Sergeants)     continues after expiration until a new
    opportunity, and specialized expertise, and supports public trust in with up to two (2) civilian investigators.     agreement is in place. The limit is
    the complaint-handling process.                                        2. Any case that reasonably could lead to    inconsistent with the intended reform,
D. All staff shall have the requisite skills and abilities necessary for   termination will have a sworn investigator   which provided the OPA Director authority
    OPA to fulfill its duties and obligations as set forth in this Chapter assigned to the case.                        to have a mix of civilian and sworn staff to
    3.29 and for OPA’s operational effectiveness. No civilian staff shall  3. Once the civilian investigators of OPA    handle all intake, complaint-handling, and
    be required to have sworn experience and no civilian staff shall       have been trained, the intake work for       investigations. Having civilians take
    have been formerly employed by SPD as a sworn officer.                 civilian initiated complaints will primarily complaints at intake offers complainants an
E. The OPA Director and the Chief shall collaborate with the goal that be performed by civilian investigators.          alternative to sworn staff. Civilian
    the rotations of sworn staff into and out of OPA are done in such a    Sergeants may be assigned to fill-in or      investigators and investigation supervisors
    way as to maintain continuity and expertise, professionalism,          back-up a civilian investigator engaged in   enhance trust; provide continuity and
    orderly case management, and the operational effectiveness of          intake duties for civilian initiated         staffing flexibility; and add specialized
    both OPA and SPD, pursuant to subsection 3.29.430.G.                   complaints. All other intake and all         expertise non-law enforcement
F. The appropriate level of civilianization of OPA intake and              investigations will be performed by both     perspectives. The expertise and perspective
    investigator personnel shall be evaluated by OIG pursuant to           Sergeants and the civilian investigators     of sworn staff is also important, and an OPA
    Section 3.29.240.                                                      (collectively the “Investigators”). It is    assignment is valuable for moving up the
G. OPA investigators and investigative supervisors shall receive           agreed that while OPA civilian               chain of command. In the Ordinance, while
    training by professional instructors outside SPD in best practices in administrative personnel will not conduct     the OPA Director collaborates with the
    administrative and police practices investigations. OPA                investigations or intake duties, they will   Chief in determining rotations of OPA’s
    investigators and investigative supervisors shall also receive in-     have responsibility for providing routine    sworn staff, the OPA Director maintains
    house training on current SPD and OPA policies and procedures.         administrative support to the                managerial authority for both civilian and
                                                                           Investigators. Examples of duties that are   sworn OPA staff.
                                                                           considered administrative support are
                                                                                                                        The OPA Director was to have discretion in
                                                                           creating the IA-Pro file, adding documents
                                                                                                                        establishing an appropriate staffing mix to
                                                                           to the file as directed by Investigators,
                                                                                                                        balance competing needs, handle
                                                                           and preparing routine response
                                                                                                                        investigations efficiently, and maintain an
                                                                           communications for Investigators such as
                                                                                                                        effective complement of differing expertise
                                                                           a file closing letter. Examples of duties
                                                                                                                        and perspectives (See: 3.29.120.B).
                                                                           that are considered intake, and not
                                                                           administrative support, are conducting       In addition, the TA language “Any case that
                                                                           interviews, analyzing video, determining     reasonably could lead to termination will
                                                                           relevancy, determining policy violations,    have a sworn investigator assigned to the
                                                                           and drafting any non-routine                 case” either means OPA may not use a
                                                                           communications.                              civilian investigator or OPA must pair the
                                                                           4. The civilianization of OPA shall not      civilian with a sworn investigator. The
                                                                           result in the reduction of Sergeant FTE’s in intent of the parties is unclear. Either way,
                                                                           the Department. The FTE for any Sergeant     it undercuts the intended reform of use of
                                                                           position removed from OPA shall be           civilian investigators in the manner that
                                                                           transferred to another position in the       best serves the public. It means that for the
                                                                             22
                                      Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)   Related SPOG TA Language                     Comments
                                                                   Department.                                  most serious allegations, OPA will not be
                                                                   5. In determining the order of transfer out  more accessible for complainants who were
                                                                   of OPA, the initial transfer will consist of not trusting of having sworn investigators,
                                                                   any Acting Sergeant(s) filling a position in which was one of the goals of
                                                                   OPA. Thereafter, the order will initially be civilianization; nor does it help with the
                                                                   determined by volunteers. In the event       challenges inherent in a sworn investigator
                                                                   there are more volunteers than needed,       having to recommend a colleague or
                                                                   the most senior (most time in OPA)           superior be fired for misconduct that
                                                                   volunteer(s) will be transferred.            civilianization would help address.
                                                                   Thereafter, transfers will be in the order
                                                                                                                As the OIG has noted, this would also
                                                                   of inverse seniority, and the provisions of
                                                                                                                potentially directly conflict with the
                                                                   the Agreement to any involuntary transfer
                                                                                                                obligation of OIG to investigate serious
                                                                   shall apply.
                                                                                                                misconduct allegations in those situations
                                                                   6. Acting Sergeants currently on the
                                                                                                                where OPA is conflicted out, since the OIG
                                                                   Sergeant promotional roster may serve in
                                                                                                                staff are civilians.
                                                                   OPA to fill a temporary vacancy limited to
                                                                   three (3) months. While at OPA, Acting
                                                                   Sergeants shall only perform intake duties               Section 3.29.140.E is cited in Appendix E.12
                                                                   and may be paired with a Sergeant to assist              of the TA which identifies sections of the
                                                                   in investigations.                                       Ordinance about which the parties have
                                                                                                                            “understandings,” but no italicized
                                                                                                                            summary of the parties’ understandings are
                                                                                                                            documented there. See endnote.
3.29.330 CPC – Independence Without the necessity of making a public       Article 3.6.H … The Community Police             The TA limits CPC access, which conflicts
disclosure request, CPC may request and shall timely receive from other    Commission (CPC) will only have access to        with the Ordinance provisions that give CPC
City departments and offices, including SPD, information relevant to its   closed OPA files. The Chief of Police or his     access to any information relevant to its
duties under this Chapter 3.29 that would be disclosed if requested        or her designee may authorize access to          duties.
under the Public Records Act.                                              the officer’s Captain, and to others only if
                                                                           those others are involved in (1) the
                                                                           disciplinary process; (2) the defense of civil
                                                                           claims; (3) the processing of a public
                                                                           disclosure request; or (4) the conduct of an
                                                                           administrative review.
3.29.380 CPC – Access to and confidentiality of files and records          Article 3.6.H … The Community Police             By not including language about CPC access
A. CPC and the Office of the CPC shall have access to unredacted           Commission (CPC) will only have access to        to unredacted OPA complaint forms and
complaint forms of all OPA complaints and unredacted files of all closed   closed OPA files. The Chief of Police or his     unredacted closed OPA investigation files,
OPA investigations.                                                        or her designee may authorize access to          the TA may be inconsistent with the
                                                                           the officer’s Captain, and to others only if     Ordinance.
                                                                             23
                                             Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)          Related SPOG TA Language                        Comments
                                                                          those others are involved in (1) the            Elsewhere in this section of the TA there is
                                                                          disciplinary process; (2) the defense of civil  a reference to the OPA Auditor’s access to
                                                                          claims; (3) the processing of a public          material. This error should be corrected.
                                                                          disclosure request; or (4) the conduct of an
                                                                          administrative review.
3.29.420 Disciplinary, grievance, and appeals policies and processes      Article 3.3 Indefinite Suspensions - On         The Ordinance language was debated,
A.4 The Chief shall have the authority to place an SPD employee on        indefinite suspensions used for                 discussed, and precisely drafted. The TA’s
leave without pay prior to the initiation or completion of an OPA         investigative purposes which do not result      introduction of “moral turpitude, or a sex
administrative investigation where the employee has been charged          in termination of employment or reduction or bias crime” greatly narrows the types of
with a felony or gross misdemeanor; where the allegations in an OPA       in rank, the resultant punishment shall not     misconduct for which the Chief may place
complaint could, if true, lead to termination; or where the Chief         exceed thirty (30) days including the           an employee on leave without pay for
otherwise determines that leave without pay is necessary for employee investigative time incorporated within the          longer than 30 days, undercutting the
or public safety, or security or confidentiality of law enforcement       indefinite suspension. However, if an           intended reform, no longer providing the
information. In any case of such leave without pay, the employee shall    employee has been charged with the              Chief appropriate managerial latitude in
be entitled to back pay if reinstated, less any amounts representing a    commission of a felony or a gross               determining the need for such leave. Most
sustained penalty of suspension.                                          misdemeanor involving either moral              serious cases will not be charged within 30
                                                                          turpitude, or a sex or bias crime, where the days, placing the Chief in a difficult position
                                                                          allegation if true could lead to termination, in cases of apparent misconduct that may
                                                                          the Employer may indefinitely suspend that in fact ultimately result in criminal charges,
                                                                          employee beyond thirty (30) days as long as but haven’t reached a filing decision within
                                                                          the length of such suspension is in accord      30 days of coming to light.
                                                                          with all applicable Public Safety Civil Service
                                                                          Rules. In the event the gross misdemeanor
                                                                          charges are filed by the City, and are
                                                                          subsequently dropped or the employee is
                                                                          acquitted, the backpay withheld from the
                                                                          employee shall be repaid, with statutory
                                                                          interest. The Guild will be notified when
                                                                          the Department intends to indefinitely
                                                                          suspend an employee. The Guild has the
                                                                          right to request a meeting with the Chief to
                                                                          discuss the suspension. The meeting will
                                                                          occur within fifteen (15) days of the
                                                                          request. If the charges are dropped or
                                                                          lessened to a charge that does not meet
                                                                          the qualifications above, there is a plea or
                                                                          verdict to a lesser charge that does not
                                                                          meet the qualifications above, or in the
                                                                          case of a hung jury where charges are not
                                                                          refiled, the employee shall be immediately
                                                                             24
                                             Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)          Related SPOG TA Language                        Comments
                                                                          returned to paid status. An employee
                                                                          covered by this Agreement shall not suffer
                                                                          any loss of wages or benefits while on
                                                                          indefinite suspension if a determination of
                                                                          other than sustained is made by the Chief
                                                                          of Police. In those cases where an
                                                                          employee covered by this Agreement
                                                                          appeals the disciplinary action of the Chief
                                                                          of Police, the Chief of Police shall abide by
                                                                          the decision resulting from an appeal as
                                                                          provided by law with regard to back pay or
                                                                          lost benefits.
3.29.420 Disciplinary, grievance, and appeals policies and processes      Appendix E.12 The parties have amended          The TA does not adopt the intended
A.5 No disciplinary action will result from a complaint of misconduct     Article 3.6.G of the Agreement, which will      reforms to the statute of limitations. The
where the misconduct comes to the attention of OPA more than five         be applicable. The parties further agree        statute of limitations was to be extended to
years after the date of the alleged misconduct, except where the          that the existing phrase in Article 3.6.G       five years for most misconduct cases, and
alleged misconduct involves criminal law violations, dishonesty, or Type “where the named employee conceals acts eliminated altogether for certain more
III Force, as defined in the SPD policy manual or by applicable laws, or  of misconduct” includes but is not limited      serious types of misconduct. This reform
where the alleged act of misconduct was concealed.                        to misconduct where an employee                 was in response to past instances when
                                                                          fraudulently completes a timesheet              action could not be taken in cases of
                                                                          because such act conceals the actual            significant misconduct. As a result, named
                                                                          amount of time that was worked.                 employees could not be held accountable
                                                                          Article 3.6.G Timing of Investigations - No     and public trust was damaged.
                                                                          disciplinary action will result from a
                                                                          complaint of misconduct where the
                                                                          complaint is made to the OPA more than
                                                                          four (4) years after the date of the incident
                                                                          which gave rise to the complaint, except:
                                                                          1) In cases of criminal allegations, or
                                                                          2) Where the named employee conceals
                                                                          acts of misconduct, or
                                                                          3) For a period of thirty (30) days following
                                                                          a final adverse disposition in civil litigation
                                                                          alleging intentional misconduct by an
                                                                          officer.
3.29.420 Disciplinary, grievance, and appeals policies and processes      Appendix E.12 The parties agree that            The TA language eliminates the intended
A.8 SPD employees shall not use any type of accrued time balances to      application of Section 3.4 of the Agreement reform by retaining contract language that
be compensated while satisfying a disciplinary penalty that includes an   meets the interests of the City, and thus       permits accrued time balances to be used
unpaid suspension.                                                        will continue to be applicable.                 for discipline of less than 8 days. The
                                                                                                                          reform eliminated the 8-day minimum so
                                                                           Article 3.4 An employee will be precluded
                                                                             25
                                             Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)             Related SPOG TA Language                     Comments
                                                                             from using accrued time balances to satisfy that regardless of the length of discipline
                                                                             a disciplinary penalty that mandates         imposed, the employee could not use
                                                                             suspension without pay when the              accrued time to satisfy a penalty that is
                                                                             suspension is for eight or more days.        supposed to be days without pay.
                                                                             However, if precluding such use of accrued
                                                                             time negatively affects the employee’s
                                                                             pension/medical benefit, the unpaid
                                                                             suspension may be served non-
                                                                             consecutively.
3.29.420 Disciplinary, grievance, and appeals policies and processes         Appendix E.12 The parties confirm that this The intent of the reform was to clearly and
A.9 The City Attorney’s Office shall determine legal representation for      section of the Ordinance is not intended to expressly mandate the role of the City
SPD in disciplinary challenges. The City, including SPD, shall not settle or alter the steps of the grievance process, or Attorney’s Office in representing the City in
resolve grievances or disciplinary appeals without the approval of the       provide a mechanism for either party to      disciplinary challenges and settlements. In
City Attorney’s Office.                                                      void an agreement reached during the         contrast, the TA retains vague
                                                                             grievance process. Each party is expected to representation language.
                                                                             designate the representative(s) authorized
                                                                             to enter into a binding settlement
                                                                             agreement. While each party may have
                                                                             internal processes in place in terms of
                                                                             attaining authority for reaching an
                                                                             agreement, it is the responsibility of the
                                                                             representative to ensure internal processes
                                                                             have been complied with.
3.29.420 Disciplinary, grievance, and appeals policies and processes         Article 3.1.B When the City provides the      The Ordinance stipulates, here and
A.2.b SPD shall provide a copy of any proposed Disciplinary Action           employee with the notice described in the     elsewhere, per the recommended reforms,
Report or successor disciplinary action document to the affected             previous paragraph, the Guild shall           specific deadlines to address patterns of
employee via electronic communication. If the employee seeks a due-          additionally be provided with the City’s      delay, which have often prevented timely
process meeting with the Chief or the Chief’s designee, the employee         disciplinary investigation, including access  resolution of complaints. The TA does not
must communicate that request to the Chief’s office electronically           to any physical evidence for examination      explicitly adopt the Ordinance requirement
within 10 days of the date of receipt of the disciplinary action             and testing …                                 that the employee notify the Chief’s office
document.                                                                                                                  within 10 days if requesting a due process
                                                                                                                           hearing.
3.29.420 Disciplinary, grievance, and appeals policies and processes       Article 3.5.A …The employee, the City, and      The TA is consistent with the Ordinance in
A.2.c The Chief or the Chief’s designee shall hold the due process         the Guild shall cooperate in the setting of a   agreeing to the 30-day window, but
meeting within 30 days of the employee’s request.                          hearing date, which shall be held thirty (30)   undercuts the intended reform by allowing
A.2.d The Chief or the employee may request one reasonable                 days after the investigation file is provided   the parties to extend that timeline. This
postponement of the due-process meeting, not to exceed two weeks           to the Guild (unless mutually agreed to hold    could result in open-ended delays.
from the date of the originally scheduled meeting.                         it earlier). The parties may agree to an
                                                                           extension based on extenuating
                                                                           circumstances.
                                                                              26
                                          Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)        Related SPOG TA Language                       Comments
3.29.420 - Disciplinary, grievance, and appeals policies and processes  Appendix E.12 The parties have agreed The TA removes the reform of eliminating
A.7.a All appeals related to SPD employee discipline shall be open to that appeals related to employee discipline multiple avenues of appeal. Further, having
the public and shall be heard by PSCSC.                                 can go through arbitration pursuant to the hearings open to the public was a bare
                                                                        collective bargaining agreement or to the bones improvement, and even that minor
                                                                        PSCSC. The City may re-open the improvement has been left for future
                                                                        Agreement for the purpose of bargaining negotiations.
                                                                        over members of the public attending
                                                                        arbitrations, and the parties will not change
                                                                        their current practice until after a change is
                                                                        achieved through the negotiation process.
3.29.420 Disciplinary, grievance, and appeals policies and processes    Appendix E.12 The parties have agreed          The TA removes the reform of ending with
A.7.b The PSCSC shall be composed of three Commissioners, none of that changes to the structure of the PSCSC           certainty the practice of sworn employees
whom shall be current City employees or individuals employed by SPD contained in the Ordinance should be               presiding over appeals of discipline to
within the past ten years, who are selected and qualified in accordance resolved through joint bargaining with the     better ensure impartial review and support
with subsection 4.08.040.A.                                             other interest arbitration eligible public     public perceptions of fairness. Further, the
                                                                        safety unions. The Guild agrees to             PSCSC is a creature of State law and City
                                                                        participate in such bargaining. During joint   Ordinance and the City is under no
                                                                        bargaining, the Guild will retain the ability  obligation to bargain its composition.
                                                                        to disagree with the position(s) advocated
                                                                        by the other unions, and may vote
                                                                        independently. If the event of such a
                                                                        disagreement, the City and Guild shall
                                                                        proceed to mediation and arbitration to
                                                                        resolve the matter. In the event other
                                                                        public safety unions refuse to engage in
                                                                        joint bargaining, the City may re-open the
                                                                        Agreement for the limited purpose of
                                                                        negotiating the changes in the Ordinance
                                                                        related to the structure of the PSCSC. The
                                                                        City agrees to defer implementation of this
                                                                        section until bargaining is completed on all
                                                                        issues for which bargaining is required.
3.29.420 - Disciplinary, grievance, and appeals policies and processes  Article 14.1 Any dispute between the           The retention of arbitration as an avenue
A.6 All appeals related to employee discipline shall be governed by thisEmployer and the Guild concerning the          for disciplinary appeals in the TA is counter
Chapter 3.29 and Chapter 4.08. Only appeals for which the hearing has   interpretation or claim of breach or           to the intended reforms that eliminated
already been scheduled prior to the effective date of the ordinance     violation of the express terms of this         multiple appeal routes, provided for open
introduced as Council Bill 118969—including Disciplinary Review Board   Agreement shall be deemed a grievance.         hearings, and established a standard of
proceedings for officers and sergeants, and arbitration proceedings for Such a dispute shall be processed in           review for appeals. The TA also continues
lieutenants and captains—shall continue in accordance with the          accordance with this Article. For purposes     to allow the grievance process to be used
relevant contractual or legislated procedures. As of the effective date of
                                                                        of processing, grievances will be              for disciplinary appeals and for written
                                                                             27
                                         Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)        Related SPOG TA Language               Comments
the ordinance introduced as Council Bill 118969, all other disciplinary categorized in two ways: “Discipline   reprimands, contrary to the reforms
appeals may proceed only under this Chapter 3.29 and Chapter 4.08.      Grievances” and “Contract Grievances”. adopted in the Ordinance to eliminate
                                                                                                               forum shopping and ensure public access
3.29.420 - Disciplinary, grievance, and appeals policies and processes     Discipline Grievances cover the challenge
                                                                                                               and transparency.
A.7.c Oral reprimands, written reprimands, “sustained” findings that       to a suspension, demotion, termination or
are not accompanied by formal disciplinary measures, and alleged           transfer identified by the Employer as
procedural violations may be processed through grievance processes         disciplinary in nature. Any grievance
established by the City Personnel Rules or by Collective Bargaining        challenging such discipline shall be
Agreements, but no grievance procedure may result in any alteration of     considered a Discipline Grievance, even
the discipline imposed by the Chief. Such grievances are not subject to    though the grievance may involve other
arbitration and may not be appealed to the PSCSC or any other forum.       contractual issues as well. A Discipline
                                                                           Grievance will be initiated at Step 3 and
4.08.105 – Tenure of employment for police officers
                                                                           may include additional related grievance(s)
A.3 … The Commission will review the recommended decision and,
                                                                           regarding an interpretation or claim of
within 30 days of the oral argument, issue a final determination
                                                                           breach or violation of the terms of the
whether the disciplinary decision was in good faith for cause, giving
                                                                           Agreement, which may be added per
deference to the factual findings of the Hearing Officer. Both the
                                                                           Section 14.2 Step 4.
recommended decision and the final decision should affirm the
disciplinary decision unless the Commission specifically finds that the    Contract Grievances cover all other
disciplinary decision was not in good faith for cause, in which case the   grievances that do not fit in the definition
Commission may reverse or modify the discipline to the minimum             of “Discipline grievance” including other
extent necessary to achieve this standard.                                 types of discipline. A Contract Grievance
                                                                           will be initiated at Step 1 or as provided for
                                                                           in Section 14.3 . . . An employee covered by
                                                                           this Agreement must, upon initiating
                                                                           objections relating to actions subject to
                                                                           appeal through either the grievance
                                                                           procedure or pertinent Public Safety Civil
                                                                           Service appeal procedures, use either the
                                                                           grievance procedure contained herein or
                                                                           pertinent procedures regarding such
                                                                           appeals to the Public Safety Civil Service
                                                                           Commission. Under no circumstances may
                                                                           an employee use both the grievance
                                                                           procedure and Public Safety Civil Service
                                                                           Commission procedures relative to the
                                                                           same action. If there are dual filings with
                                                                           the grievance procedure and the Public
                                                                           Safety Civil Service Commission, the City
                                                                           will send a notice of such dual filings by
                                                                           certified mail to the employee(s) and the
                                                                             28
                                      Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)   Related SPOG TA Language                       Comments
                                                                   Guild. If both appeals are still pending after
                                                                   thirty (30) days from the receipt of such
                                                                   notice by the Guild, the appeal through the
                                                                   grievance shall be deemed withdrawn. The
                                                                   withdrawn grievance shall have no
                                                                   precedential value . . .
                                                                                [See also steps outlined in the contract for
                                                                                processing both types of grievances,
                                                                                including the option of using arbitration.]
                                                                                Appendix E.12 The City agrees that [section
                                                                                3.29.40.A.7.c] of the Ordinance shall not
                                                                                change the scope of matters that are
                                                                                subject to the grievance procedure and
                                                                                arbitration under the Agreement and to
                                                                                challenge/hearings under the PSCSC. In
                                                                                addition, the City confirms that operation
                                                                                of the grievance procedure and PSCSC can
                                                                                result in the alteration of discipline
                                                                                imposed by the Chief. Both parties
                                                                                recognize the right of the other party to
                                                                                utilize internal review processes prior to
                                                                                entering into a settlement of a grievance or
                                                                                a PSCSC appeal.
                                                                                Article 3.2 Written reprimands shall be
                                                                                subject to the grievance procedure of the
                                                                                Agreement.
4.08.040 Powers and duties of Commission                                        Article 14.4 The time limits for processing a   The ordinance adopted the recommended
J. Hear and determine appeals or complaints respecting the                      grievance stipulated in 14.2 of this Article    reform of detailing requirements for
administration of this Chapter 4.08, including, but not limited to, all         may be extended for stated periods of time      scheduling and completing PSCSC appeal
appeals affecting discipline of SPD employees defined in subsection             by mutual written agreement between the         hearings to address long-standing problems
4.08.060.A. In hearing police discipline cases, the Commission may              Employer and the Guild, and the parties to      with delays. The CBA appears to have not
delegate its authority to conduct hearing appeals to a hearing officer          this Agreement may likewise, by mutual          adopted these provisions:
that it retains, or to a hearing officer in the City of Seattle Office of the   written agreement, waive any step or steps       • Have the PSCSC use a hearing examiner
Hearing Examiner, subject to Commission review. Any hearing officer             of Section 14.2.                                   who is a tenured professional not
shall have appropriate expertise and objectivity regarding police                                                                  subject to selection by the parties and
                                                                                An arbitration hearing shall generally be
disciplinary decisions.                                                                                                            whose availability is certain; OR have
                                                                                conducted within ninety (90) calendar
                                                                                                                                   the PSCSC contract with an arbitrator,
4.08.105 - Tenure of employment for police officers                             days from the date the arbitrator provides
                                                                                                                                   but only if the selection process for the
A.1 Any employee removed, suspended, demoted, or discharged may                 potential dates to the parties, recognizing
                                                                                                                                   arbitrator is via a pre-determined pool
                                                                                  29
                                             Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)          Related SPOG TA Language                     Comments
within ten days from the date of electronic service of the final          that the parties may extend the timeline       to be used for several years, not a
disciplinary decision by the Chief of Police, file with the Commission a  to account for availability. Requests for an   process where either side can refuse to
written notice of appeal. The notice of appeal may be filed               extension will not unreasonably be             accept the arbitrator.
electronically, and the employee shall submit copies of this notice to    denied.                                        • Require the union to file notices of
the City Attorney and the Chief of Police.                                                                                 appeal with the City Attorney at the
A.2 The Commission shall ensure that a hearing is conducted as soon as                                                     same time they are filed with SPD.
practicable, but in no event later than three months after submission of                                                 • Require hearings be conducted no later
the notice of appeal. The hearing shall be confined to the                                                                 than three months after the appeal is
determination of whether the employee’s removal, suspension,                                                               filed and to issue a final determination
demotion, or discharge was made in good faith for cause.                                                                   within 30 days or oral argument.
A.3 … The Commission will review the recommended decision and,                                                           • Require each side to have two attorneys
within 30 days of the oral argument, issue a final determination                                                           who can handle appeals to eliminate
whether the disciplinary decision was in good faith for cause, giving                                                      delays caused due to assigned attorney
deference to the factual findings of the Hearing Officer. Both the                                                         being unavailable for weeks or months.
recommended decision and the final decision should affirm the                                                              The Ordinance doesn’t stipulate back-up
disciplinary decision unless the Commission specifically finds that the                                                    representation, but it does state that
disciplinary decision was not in good faith for cause, in which case the                                                   deadlines shall not be delayed more
Commission may reverse or modify the discipline to the minimum                                                             than two weeks due to the
extent necessary to achieve this standard.                                                                                 unavailability of attorneys.
B. … All hearings pursuant to this Section 4.08.105 shall be open to the
public. Hearings shall be held after due notice of the time and place of
hearing to the affected employee. The employee has the right to union
and legal representation of the employee’s choosing and at the
employee’s own expense. Hearings and related deadlines shall not be
delayed more than two weeks due to the unavailability of the City’s or
the employee’s union representative or legal counsel.
3.29.430 Recruitment, hiring, assignments, promotions, and training         Article 7.4.G. Prior to an involuntary      In Article 7.4.G and 7.4.4, the TA conflicts
E. SPD shall adopt consistent standards that underscore the                 transfer for inadequate performance, an     with an important reform that was
organizational expectations for performance and accountability as part      employee will be given notice of the        intended to give management appropriate
of the application process for all specialty units, in addition to any      performance deficiencies and a reasonable   authority to set and use performance
unique expertise required by these units, such as field training, special   opportunity to correct the deficiencies.    standards that take into account OPA
weapons and tactics, crime scene investigation, and the sexual assault                                                  history in making specialty assignments and
                                                                            7.4.4 Performance Based Transfers – A
unit. In order to be considered for these assignments, the employee’s                                                   to transfer employees out of specialty units
                                                                            transfer based upon inadequate
performance appraisal record and OPA history must meet certain                                                          whose misconduct warrants transfer.
                                                                            performance shall only occur if the
standards and SPD policy must allow for removal from that assignment
                                                                            Department has documented a repetitive      Also, mandatory transfers were not
if certain triggering events or ongoing concerns mean the employee is
                                                                            performance deficiency and informed the     addressed in the TA. Management has the
no longer meeting performance or accountability standards.”
                                                                            employee, and the employee has had a        authority to move captains and lieutenants
                                                                            reasonable opportunity to address the       at-will so they gain experience in different
                                                                              30
                                      Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)   Related SPOG TA Language                      Comments
                                                                   performance deficiency, normally no less      units, different parts of the city, etc. and
                                                                   than thirty (30) and no more than ninety      assign these staff in ways that match their
                                                                   (90) days. The performance deficiency to be skills and abilities to SPD’s need to provide
                                                                   corrected must be based on objective          effective policing services. The TA is silent
                                                                   criteria that are evenly applied across       on management authority to do the same
                                                                   similar units of assignment (for purposes of for sergeants and officers.
                                                                   this provision similar units of assignment in
                                                                   patrol will be citywide across the watch).
                                                                   The performance deficiency identified as
                                                                   needing correction cannot be simply
                                                                   general statements. The employee shall be
                                                                   given a written explanation of 1) the
                                                                   concerns, which shall include sufficient
                                                                   facts or examples of the employee’s
                                                                   failures to meet the objective criteria in
                                                                   order to assist the employee to understand
                                                                   the issue(s); and 2) specific actions the
                                                                   employee can take to satisfactorily address
                                                                   the employer’s concerns. Prior to the
                                                                   written explanation document being given
                                                                   to the employee, it shall be reviewed and
                                                                   approved by the employee’s Bureau
                                                                   Commander and the Department’s Human
                                                                   Resource Director (or designee). When
                                                                   making the transfer, the Department will
                                                                   give good faith consideration to the
                                                                   employee’s preference for a new
                                                                   assignment.
3.29.430 Recruitment, hiring, assignments, promotions, and trainingArticle 7.9 Employees covered by this                  The TA provides for a re-opener to bargain
D. After consulting with and receiving input from OIG, OPA, and CPC,
                                                                   Agreement shall be allowed to engage in                secondary employment. This concession is
SPD shall establish an internal office, directed and staffed by civilians,
                                                                   off-duty employment subject to the same                a setback to critical reform. Secondary
to manage the secondary employment of its employees. The policies, terms and conditions in effect on January 1,           employment is not an employment right
rules, and procedures for secondary employment shall be consistent 1992. This provision is subject to the                 and should not have been subject to
with SPD and City ethical standards, and all other SPD policies shall
                                                                   Secondary Employment reopener set forth                bargaining. In response to egregious
apply when employees perform secondary employment work.            in Article 21.                                         situations and apparent corruption coming
                                                                                                                          to light recently, and a history of problems
                                                                             Article 21.5 For the duration of this
                                                                                                                          addressed in repeated recommendations
                                                                             Agreement, the City may reopen this
                                                                                                                          over the years, secondary employment
                                                                             Agreement on the issue of Secondary
                                                                                                                          reforms were to be implemented last year
                                                                             Employment. In the event the City does re-
                                                                                                                          pursuant to an Executive Order by then-
                                                                             open, the Guild may re-open the
                                                                               31
                                      Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)   Related SPOG TA Language                      Comments
                                                                   Agreement on any economic issue that is       Mayor Burgess and recommendations from
                                                                   directly related to and impacted by the       the Ethics & Elections Commission, the City
                                                                   change in Secondary Employment.               Auditor, the OPA Auditor and the CPC.
                                                                                                                 These reforms were to address real and
                                                                                                                 perceived conflicts of interest, internal
                                                                                                                 problems among employees competing for
                                                                                                                 business, the need for appropriate
                                                                                                                 supervisory review and management, and
                                                                                                                 to adopt technological opportunities. The
                                                                                                                 recommendations included eliminating the
                                                                                                                 practice of having secondary employment
                                                                                                                 work managed outside SPD, often by
                                                                                                                 current employees acting through their
                                                                                                                 private businesses created for this purpose
                                                                                                                 or through contracts between the
                                                                                                                 employee and a private business; making
                                                                                                                 clear that video recording, use of force,
                                                                                                                 professionalism, and all other policies apply
                                                                                                                 when employees perform secondary
                                                                                                                 employment work; creating an internal
                                                                                                                 civilian-led and civilian-staffed office; and
                                                                                                                 establishing clear and unambiguous
                                                                                                                 policies, rules, and procedures consistent
                                                                                                                 with strong ethics and a sound
                                                                                                                 organizational culture.
3.29.430 Recruitment, hiring, assignments, promotions, and trainingAppendix E.12 The City confirms that all      The TA appears to suggest that the parties
G. The Chief shall collaborate with the OPA Director with the goal that
                                                                   transfers in or out of OPA of bargaining unit intend repeal of this section of the
sworn staff assigned to OPA have requisite skills and abilities and with
                                                                   members will be done in compliance with       Ordinance, replacing it with transfer
the goal that the rotations of sworn staff into and out of OPA are done
                                                                   the CBA.                                      language in the TA’s Appendix D. If so, this
in such a way as to maintain OPA’s operational effectiveness. To fill                                            provision is inconsistent with the Ordinance
such a sworn staff vacancy, the Chief and the OPA Director should                                                because the TA unduly limits the
solicit volunteers to be assigned to OPA for two-year periods. If there                                          responsibility of the OPA Director to
are no volunteers or the OPA Director does not select from those who                                             establish an effective mix of staff.
volunteer, the Chief shall provide the OPA Director with a list of ten
acting sergeants or sergeants from which the OPA Director may select
OPA personnel to fill intake and investigator positions. Should the OPA
Director initially decline to select personnel from this list, the Chief shall
provide the OPA Director with a second list of ten additional acting
sergeants or sergeants for consideration. If a second list is provided, the
OPA Director may select personnel from either list, or from among
                                                                                 32
                                             Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)          Related SPOG TA Language                 Comments
volunteers.
3.29.440 Public disclosure, data tracking, and record retention              Article 3.6.L. OPA files shall be retained       The TA counters records-retention reforms,
E. All SPD personnel and OPA case files shall be retained as long as the     based on their outcome. Investigations           which included setting the same longer
employee is employed by the City, plus either six years or as long as any    resulting in findings of “Sustained” shall be    retention period for all files, whether
action related to that employee is ongoing, whichever is longer. SPD         retained for the duration of City                complaint findings were sustained or not,
personnel files shall contain all associated records, including Equal        employment plus six (6) years, or longer if      and describing specifically which files must
Employment Opportunity complaints, and disciplinary records,                 any action related to that employee is           be retained. In the past, because records
litigation records, and decertification records; and OPA complaint files     ongoing. Investigations resulting in a           were retained for shorter periods of time,
shall contain all associated records, including investigation records,       finding of not sustained shall be retained       and all files were not retained, the City’s
Supervisor Action referrals and outcomes, Rapid Adjudication records,        for three (3) years plus the remainder of        accountability to the public was more
and referrals and outcomes of mediations. Records of written                 the current year. OPA files resulting in a not   limited, and SPD management’s ability to
reprimands or other disciplinary actions shall not be removed from           sustained finding may be retained by OIG         establish progressive discipline and
employee personnel files.                                                    for purposes of systemic review for a longer     comparable treatment of like cases
                                                                             period of time, so long as the files do not      compromised. (Note also that retention is
                                                                             use the name of the employee that was            easier now that all records are electronic.)
                                                                             investigated.
3.29.440 Public disclosure, data tracking, and record retention              Appendix C.1.B Upon service retirement           Appendix C.1.B should apply only to
F. For sworn employees who are terminated or resign in lieu of               from the Seattle Police Department, an           employees who retire in good standing.
termination, such that the employee was or would have been                   employee may purchase from the                   Concealed carry privileges should be
separated from SPD for cause and at the time of separation was not “in       Department, at market value, the service         granted under rules of the Law
good standing,” SPD shall include documentation in SPD personnel and         weapon he or she had been issued.                Enforcement Officers Safety Act, including
OPA case files verifying. . . (d) that the Chief did not or will not grant                                                    having retired in good standing. These
                                                                             Appendix C.1.C An employee whose
any request under the Law Enforcement Officers Safety Act to carry a                                                          caveats should be made explicit in the TA to
                                                                             request to purchase service weapon is
concealed firearm. The latter two actions shall also be taken and                                                             ensure consistency with reforms in the
                                                                             denied shall have the right to appeal the
documentation included in the SPD personnel and OPA case files                                                                Ordinance. Similarly, the option for
                                                                             denial to the Chief of Police or designee,
whenever a sworn employee resigns or retires with a pending                                                                   secondary employment or retiree
                                                                             whose decision shall be final and binding.
complaint and does not fulfill an obligation to fully participate in an                                                       employment should only apply to
OPA investigation.                                                                                                            employees who retire in good standing.
3.29.460 Collective bargaining and labor agreements                          Appendix E.12 Pursuant to SMC 3.29.460,          Listing the titles of separate agreements in
B. The terms of all collective bargaining agreements for SPD employees,      the parties have reviewed all of their           the contract does not conform to the spirit
along with any separate agreements entered into by SPD or the City in        outstanding separate agreements. After           of the Ordinance. The intent of the
response to an unfair labor practice complaint, settlement of grievance      determining which of those involve               Ordinance was that the terms of any
or appeal, or for other reasons, including those previously reached,         “ongoing practices or processes” under           ongoing agreements be added to the
shall be clearly and transparently provided to the public, by posting on     the Ordinance, the parties have agreed to        contract or be abrogated. This was to
the SPD website.                                                             incorporate the agreements listed                ensure that any existing MOA terms are
                                                                             Appendix G as part of the new collective         fully reviewed during negotiations and are
C. Whenever collective bargaining occurs, any separate agreements in
                                                                             bargaining agreement. It is understood that      not in conflict with any other contract
place affecting ongoing practices or processes which were entered into
                                                                             while the failure to incorporate an              terms. Policymakers, the public, appellate
by SPD or the City in response to an unfair labor practice complaint,
                                                                             agreement involving an ongoing practice or       officers, and others need to see the terms
settlement of grievance or appeal, or for any other reasons, shall be
                                                                             process means that the agreement can no          of those additional agreements. If the
                                                                                33
                                         Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)      Related SPOG TA Language                      Comments
incorporated into the new or updated collective bargaining agreement  longer be enforced through the CBA, any       terms of separate agreements in any way
or shall be eliminated.                                               such former agreement may still be relied     provide for additional, different, or
                                                                      upon for historical purposes or as evidence conflicting obligations, those need to be
                                                                      of past practice. While enforcement           readily apparent. If they are in conflict with
                                                                      through the CBA has been “eliminated”, the the TA, those conflicts need to be
                                                                      former agreement may be used for              addressed prior to adoption of the TA.
                                                                      historical or past practice purposes. In
                                                                                                                            Some examples of issues with these
                                                                      addition, as compliance with 3.29.460B,
                                                                                                                            separate agreements that needed to be
                                                                      each of the incorporated agreements will
                                                                                                                            addressed in the TA include:
                                                                      be posted on the Department website. In
                                                                                                                            a. Limitations on the use and review of in-
                                                                      addition, the parties agree that 3.29.460B is
                                                                                                                               car video for improving performance,
                                                                      satisfied in full by posting CBA, the
                                                                                                                               for auditing, or other purposes.
                                                                      incorporated agreements, and any future
                                                                      agreements that change ongoing practices              b. References to Firearms Review,
                                                                      or policies on the Department website.                   Firearms Review Board, and Officer-
                                                                                                                               Involved Shootings review processes;
                                                                            [Appendix F lists the MOUs and MOAs                ensuring appropriate OPA and OIG
                                                                            incorporated into the contract.]                   attendance and involvement
                                                                                                                            c. Limitations on promotions from any of
                                                                                                                               the top five scorers, regardless of order
                                                                                                                            d. The decision-making process for, and
                                                                                                                               length of, assignments of sworn
                                                                                                                               personnel to OPA
                                                                                                                            e. Limitations on uses of holding cell video
                                                                                                                            f. Limitations on due process hearing
                                                                                                                               attendance
                                                                                                                            (Note: The TA refers to side agreements
                                                                                                                            listed in Appendix G, but they are listed in
                                                                                                                            Appendix F.)
3.29.500 Construction                                                       Article 18 Subordination of Agreement.          The parties expressly agree that the TA
A. In the event of a conflict between the provisions of this Chapter 3.29   It is also understood that the parties hereto   terms, including the appendices, shall
and any other City ordinance, the provisions of this Chapter 3.29 shall     and the employees of the City are governed      prevail, even though they are inconsistent
govern.                                                                     by applicable City Ordinances, and said         or in conflict with the any City ordinance.
                                                                            Ordinances are paramount except where           (See for example, TA Article 4.4 which does
                                                                            they conflict with the express provisions of    not conform to City law.) “Conflict with”
                                                                            this Agreement.                                 can include the omission or partial omission
                                                                                                                            of ordinance terms and provisions when the
                                                                                                                            TA covers the same subject matter. Or it
                                                                              34
                                      Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)   Related SPOG TA Language                 Comments
                                                                                                            can include conflicts in wording even when
                                                                                                            that may not have been the intent of the
                                                                                                            parties. The extent to which the TA
                                                                                                            eviscerates the Ordinance won’t be fully
                                                                                                            seen until SPOG or employees make this
                                                                                                            argument in specific cases to bar a
                                                                                                            sustained finding or discipline. SPD
                                                                                                            commanders, the oversight bodies, and the
                                                                                                            public are left to guess what terms are
                                                                                                            certain and what language will later be
                                                                                                            challenged. A key purpose of adopting
                                                                                                            reforms by Ordinance was to provide clarity
                                                                                                            and certainty, and make the system less
                                                                                                            reliant on who is serving in OPA, SPD,
                                                                                                            SPMA, SPOG, or City leadership, their
                                                                                                            ‘understanding’, their level of advocacy,
                                                                                                            etc.
3.29.510 Implementation                                                      Appendix E.3 In the event there is a conflict   The parties expressly agree that the TA
A. Provisions of the ordinance introduced as Council Bill 118969 subject     between the language of the Ordinance           terms, including the appendices, shall
to the Public Employees’ Collective Bargaining Act, chapter 41.56 RCW,       and the language of the CBA or the              prevail, even though they are inconsistent
shall not be effective until the City completes its collective bargaining    explanations and modifications in this          or in conflict with the Ordinance. While the
obligations. As noted in Section 3.29.010, the police are granted            Appendix, the language of the CBA or this       public may believe that what is in City law
extraordinary power to maintain the public peace, including the power        Appendix shall prevail.                         can be relied on, in fact even if those
of arrest and statutory authority under RCW 9A.16.040 to use deadly                                                          impacted laws are never amended through
force in the performance of their duties under specific circumstances.                                                       a public process, this provision means that
Timely and comprehensive implementation of this ordinance                                                                    they have nonetheless been amended.
constitutes significant and essential governmental interests of the City,                                                    While it is traditional for contracts to have
including but not limited to (a) instituting a comprehensive and lasting                                                     this kind of language, in this instance it
civilian and community oversight system that ensures that police                                                             seems particularly out of alignment with
services are delivered to the people of Seattle in a manner that fully                                                       the goals of the accountability system and
complies with the United States Constitution, the Washington State                                                           the Consent Decree regarding public trust,
Constitution and laws of the United States, State of Washington and                                                          transparency and legitimacy.
City of Seattle; (b) implementing directives from the federal court, the
U.S. Department of Justice, and the federal monitor; (c) ensuring
effective and efficient delivery of law enforcement services; and (d)
enhancing public trust and confidence in SPD and its employees. For
these reasons, the City shall take whatever steps are necessary to fulfill
all legal prerequisites within 30 days of Mayoral signature of this
ordinance, or as soon as practicable thereafter, including negotiating
                                                                               35
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with its police unions to update all affected collective bargaining
agreements so that the agreements each conform to and are fully
consistent with the provisions and obligations of this ordinance, in a
manner that allows for the earliest possible implementation to fulfill
the purposes of this Chapter 3.29.
Other Topics Requiring Attention                                             Appendix G In addition to the other             Language in the TA should be updated to
Firearms Review Board                                                        agreements reached by the parties related       make sure it correctly references the
                                                                             to the OIG, the OIG may attend Firearms         names of all currently constituted boards
                                                                             Review Boards and will in all respects be       and processes to which the OIG must have
                                                                             afforded the same access, participation, and    full and unfettered access.
                                                                             treatment as be as the Monitor (see the
                                                                             January 18, 2013 MOU of the parties).
Other Topics Requiring Attention                                                                                             Bargaining should begin again relatively
3.29.460 Collective bargaining and labor agreements                                                                          soon since this TA, if ratified, ends in
A. Those who provide civilian oversight of the police accountability                                                         December, 2020. It will be important to
system shall be consulted in the formation of the City’s collective                                                          follow through on the commitment to have
bargaining agenda for the purpose of ensuring their recommendations                                                          technical advisors with accountability
with collective bargaining implications are thoughtfully considered and                                                      system expertise advise the City, as was
the ramifications of alternative proposals are understood. These                                                             provided for in the Ordinance. (This should
individuals shall be subject to the same confidentiality provisions as any                                                   be the practice, as well, for all contract re-
member of the Labor Relations Policy Committee.                                                                              openers and for the list of other exceptions
                                                                                                                             to the Ordinance laid out in Appendix E.)
                                                                                                                             See CM Herbold’s proposed legislation
                                                                                                                             which provides for more ongoing advice
                                                                                                                             throughout the bargaining process, and
                                                                                                                             Section 3.29.460 of the Ordinance, which
                                                                                                                             provides for this advisory role as the City
                                                                                                                             prioritizes its bargaining agenda.
Other Topics Requiring Attention                                             Article 1.4 … Having reviewed the data, it is   The public continues to pay 78% of the
Payment of SPOG President Salary                                             agreed that effective July 1, 2018, the City    SPOG President's salary, including all time
                                                                             will pay seventy-eight percent (78%) of the     spent in labor-management meetings,
                                                                             Guild President’s salary for 1736 hours a       addressing grievances, and “other such
                                                                             year, with the remaining twenty-two             duties.” And, the greater amount of time
                                                                             percent (22%) paid by the Guild for 1736        spent by SPOG on these functions, the
                                                                             hours a year, up to 2088 per year. In           more it costs the public, which seems
                                                                             addition, the City shall pay the entire cost    contrary to the public’s interest.
                                                                             of any hours over 1736 in a year, without
                                                                             contribution from the Guild. Thereafter, the
                                                                             parties will review the data in the spring of
                                                                             each year (recognizing the Guild’s July
                                                                               36
                                        Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)     Related SPOG TA Language                       Comments
                                                                     through June budget year) to determine
                                                                     whether an adjustment of the 78/22
                                                                     percentage (up or down) should be made.
Other Topics Requiring Attention                                     Article 1.4 … Recognizing that there may at The TA does not state whether the cost of
Dispute Process Regarding Payment of SPOG President Salary           times be a difference of opinion on this       dispute resolution is also paid by the public.
                                                                     issue, and that there may be confidential
                                                                     time records of the Guild President, the
                                                                     parties agree that any dispute will be
                                                                     submitted to a neutral third party for final
                                                                     and binding resolution.
Other Topics Requiring Attention                                     Article 1.5.A The Employer shall afford        The TA does not give supervisors authority
Managing Time of SPOG Representatives                                Guild representatives a reasonable amount to approve or manage SPOG representative
                                                                     of on-duty time to consult with appropriate time requests to help ensure the SPOG-
                                                                     management officials and/or aggrieved          related tasks don’t negatively impact
                                                                     employees, to post Guild notices and           assigned duties and don’t consume an
                                                                     distribute Guild literature not of a political excessive amount of time, even though
                                                                     nature and to meet with the recruit class      SPOG work is paid for by the public. It
                                                                     during a time arranged by the Employer;        suggests the supervisor’s role is simply to
                                                                     provided that the Guild representative         provide the time sheet and grant the time
                                                                     and/or aggrieved employees contact their       requested. It is unclear if this language
                                                                     immediate supervisors, indicate the general aligns with the employer’s authority in
                                                                     nature of the business to be conducted,        Article 1.5.B of the TA.
                                                                     and request necessary time without undue
                                                                     interference with assignment duties. Time
                                                                     spent on such activities shall be recorded
                                                                     by the Union representative on a time
                                                                     sheet provided by the supervisor. Guild
                                                                     representatives shall guard against use of
                                                                     excessive time in handling such
                                                                     responsibilities.
                                                                         Article 1.5.B The Employer reserves the
                                                                         right to determine the total amount of
                                                                         specific hours of official time which will be
                                                                         approved for Guild officials to conduct
                                                                         Guild business on duty time.
Other Topics Requiring Attention                                         Article 4.4 Non-discrimination - It is agreed   As noted above, this language conflicts with
Non-Discrimination                                                       by the Employer and the Guild that the City     City law (and per the TA terms, will prevail.)
                                                                         and the Guild are obligated, legally and        “The City of Seattle (City) assures that no
                                                                         morally, to provide equality of opportunity,    person shall be discriminated against in City
                                                                           37
                                      Areas of Conflict Between Accountability System Reforms and the SPOG TA
Ordinance 315215 Language (Followed by Additional System Issues)   Related SPOG TA Language                      Comments
                                                                   consideration and treatment to all            programs and activities based on their race,
                                                                   members employed by the Seattle Police        color, national origin, religion, sex, age, or
                                                                   Department in all phases of the               disability as provided by Title VI of the Civil
                                                                   employment process and will not               Rights Act of 1964, the Civil Rights
                                                                   unlawfully discriminate against any           Restoration Act of 1987 (P.L. 100.259), the
                                                                   employee by reason of race, disability, age, Age Discrimination Act of 1975, as
                                                                   creed, color, sex, national origin, religious amended, and Title II of the American with
                                                                   belief, marital status or sexual orientation. Disabilities Act. The City further complies
                                                                                                                 with additional state and municipal civil
                                                                                                                 rights laws and assures that no person shall
                                                                                                                 be discriminated against in its programs
                                                                                                                 and activities based on their sexual
                                                                                                                 orientation, gender identity, marital status,
                                                                                                                 parental status, political ideology, creed,
                                                                                                                 ancestry, participation in the Section 8
                                                                                                                 housing program, military status or veteran
                                                                                                                 status, or due to breastfeeding in a public
                                                                                                                 place, as provided by Seattle Municipal
                                                                                                                 Code 14.04, 14.06 and 14.10.” -OCR
Other Topics Requiring Attention                                        Article 3.13.E The provisions of Section 3.6   As noted above, Article 3.6 of the TA
EEO Complaints                                                          shall apply to EEO investigations.             significantly conflicts with Ordinance
                                                                                                                       reforms. Article 3.13.E broadens this
                                                                                                                       problem by applying those same provisions
                                                                                                                       regarding OPA investigations to EEO
                                                                                                                       investigations as well. As noted by the OIG,
                                                                                                                       this also presents obstacles to the ability of
                                                                                                                       the OIG to investigate retaliation
                                                                                                                       complaints, as mandated by Ordinance.
Other Topics Requiring Attention                                        Appendix E.10 Garrity. Without limiting        As has been noted over the years, Garrity
Garrity                                                                 other potential situations where Garrity       should only be used when appropriate, in
                                                                        could/would apply, the City agrees that in     cases involving potential criminal liability.
                                                                        implementing the Ordinance it will comply
                                                                        with Garrity whenever it seeks to compel
                                                                        testimony during an OPA interview.
Other Topics Requiring Attention                                        Article 21 cites specific re-opener areas      All accountability system re-opener topics
Re-Openers                                                              including patrol shift schedules (21.4),       should be disclosed for public transparency,
                                                                        secondary employment (21.5), and               additional parameters provided, and should
                                                                        mandatory subjects related to the              be considered and addressed using the
                                                                        Gender/Race Workforce Equity efforts           expertise of accountability system technical
                                                                          38
                                            Areas of Conflict Between Accountability System Reforms and the SPOG TA
      Ordinance 315215 Language (Followed by Additional System Issues)   Related SPOG TA Language                       Comments
                                                                         (21.6). It also states that “the parties have  advisors. Without further clarity or
                                                                         agreed to re-open the Agreement on some        additional details, each re-opener can
                                                                         topics” [cited elsewhere in the contract].     result in further weakening, elimination or
                                                                                                                        delay of reforms in the Ordinance. For
                                                                         Appendix E.12 states that subpoena
                                                                                                                        example, re-openers are included on:
                                                                         authority for OPA and OIG could be re-
                                                                                                                            • Whether disciplinary hearings will
                                                                         opened “after the City further reviews
                                                                                                                                  be open to the public;
                                                                         questions raised concerning the authority
                                                                         and potential need for OPA and the OIG [to         • Subpoena authority;
                                                                         do so]”. It also cites re-opener areas related     • Secondary employment;
                                                                         to public attendance at arbitration and            • The composition of the PSCSC; and
                                                                         changes to the composition of the PSCSC.           • Protecting the confidentiality of
                                                                                                                                  complainants.
                                                                                      Appendix H cites re-opener related to how
                                                                                                                        Also, the Ordinance refers to steps to be
                                                                                      anonymous complaints are to be handled
                                                                                                                        taken to develop a community complaint
                                                                                      when providing complaint classification
                                                                                                                        process, but the TA does not provide for a
                                                                                      information.                      re-opener related to establishing this.
*
 At the start of Appendix E.12, the TA states “The parties have also reached the following understandings on specific sections of the Ordinance. For ease of
reference, the relevant language from the section is included . . . followed by the agreement of the parties in italics.” It states that the parties have reached
“understandings on specific sections of the Ordinance” and then the parties go on to “interpret” the Accountability Ordinance. Aside from the problems inherent in those
“interpretations”, in a few instances those “understandings” are not, in fact, detailed. These understandings may undermine or conflict with reforms, or make uncertain that reforms will
be implemented, but without the language, the intent cannot be ascertained. (TA, Appendix E.12)
                                                                                         39
EXAMPLES OF WAYS THE PROPOSED SEATTLE POLICE OFFICERS’ GUILD (SPOG) CONTRACT AFFECTS
                         POLICE ACCOUNTABILITY REFORMS




                      Prepared by the Community Police Commission
            Examples of ways the proposed police officers’ contract affects the police accountability system


The reforms incorporated into the Accountability Legislation adopted in 2017 to strengthen the accountability system
were based on review of cases by independent experts, and the experiences of the public, where weaknesses in the
system had been identified that undermined accountability. The Community Police Commission’s concern is that the
community advocated for those reforms in the Legislation, and understood that City leaders would prioritize this package
in collective bargaining. If the terms of the collective bargaining agreement with the Guild mean those reforms will not
be implemented or a weaker alternative will be substituted, it is important that there be a full and accurate explanation
of what changes are being proposed and why, and what the impact will be. If it is not possible to have clarity about what
rules are in effect, that is a problem per se for transparency and can compromise efforts to impose discipline in
appropriate cases.

There are dozens of ways the proposed contract would in some way weaken the accountability system, many of which
are difficult to explain succinctly and in non-technical terms. The following are just a few of the many examples we’ve
identified. In addition, there are terms in the appendices to the agreement where the parties “reinterpret” the
Accountability Legislation or agree it will not be implemented as written; terms where certain elements of the legislation
are included but others not, so one can’t tell whether that is an intentional alteration; terms where the drafting makes
the impact unclear; and terms the parties agree to re-interpret, but then that language is not included. There is also no
reference to accountability or to protecting the public interest anywhere in the stated purpose, so one can’t use that as a
foundation from which to understand intent.



        What the Accountability Legislation Promised               Some of What the Proposed SPOG Contract Does
 The legislation explicitly stated that the City’s goal was   Rather than ensuring that the contracts were brought
 to make sure the collective bargaining agreements with       into conformance with the new law, the proposed
 SPOG and with SPMA (the union for Lieutenants &              language in the contract weakens, takes away, or makes
 Captains) allowed the new accountability law to be           a reform less clear than what is in the law, or omits
 fully implemented: “For these reasons, the City shall        language in the ordinance in an area covered by the
 take whatever steps are necessary to fulfill all legal       contract, and then states that if there is any conflict
 prerequisites within 30 days of Mayoral signature of         between the law and the contract (and even the
 this ordinance, or as soon as practicable thereafter,        appendices to the contract), the contract will prevail.
 including negotiating with its police unions to update all   This means that even if City does not formally amend the
 affected collective bargaining agreements so that the        law, and the public expectation is that the law must be
 agreements each conform to and are fully consistent          complied with, it will be the contract that must be
 with the provisions and obligations of this ordinance, in    complied with.
 a manner that allows for the earliest possible               (Proposed SPOG Contract - Article 18.2 and Appendix
 implementation to fulfill the purposes of this Chapter       E.3)
 3.29.”
 (Accountability Legislation - 3.29.510)                      Note, by contrast, the SMPA contract says:
                                                              “The results of the bargaining on the Accountability
                                                              Ordinance are incorporated into Article 16 of the CBA
                                                              between the parties. In accordance with this, the City
                                                              may implement the Accountability Ordinance.”
 The standard for all misconduct findings, including          While the contract does set a preponderance as the
 those involving dishonesty, is “a preponderance,”            standard for all misconduct findings, that step is
 meaning an allegation can be sustained if the evidence       undermined by the introduction of new language that
 shows it’s more likely than not the alleged offense          there will be an “elevated standard of review” for any
 happened. Termination for an initial instance of             termination to be sustained on appeal if the offense
 dishonesty used to require a higher standard of “clear       could be stigmatizing to an officer seeking other
 and convincing,” but that was reformed in the                employment. This could be virtually any offense, and
                                                                                                                          1
             Examples of ways the proposed police officers’ contract affects the police accountability system
legislation, by order of the Court, so that the standard    effectively nullifies the preponderance standard for
for all discipline is the same.                             discipline by the Chief. The legislation had also removed
(Accountability Legislation – 3.29.135 & the Federal        arbitration as the way appeals are handled and provided
court affirmed and so ordered in response to a City         for a clear standard of review by the independent body
filing as part of the consent decree.)                      hearing appeals, so the introduction of a arbitrator’s
                                                            standard of review is connected to the re-introduction of
Another reform goal was to not have to prove an             arbitration as a dual appellate path, contrary to the
officer was being *intentionally* dishonest (which is       legislation.
nearly impossible).
                                                            The proposed contract also leaves in the old contract
Also, according to SPD policy, officers are required to     language requiring proof of intentionality for dishonesty,
be truthful and provide complete information in all         and the old contract language that limits when the
communications. (SPD Policy 5.001)                          officer must provide complete and honest information to
                                                            times when officers are answering questions in
                                                            administrative investigations. This contradicts the
                                                            departmental policy with which all employees must
                                                            comply, that officers are always required to be truthful
                                                            and provide complete information - whether in reports,
                                                            in testimony, when making a stop, etc. This has very
                                                            wide implications given the tens of thousands of people
                                                            detained and arrested with supporting police reports
                                                            each year.
                                                            (Proposed SPOG Contract - 3.1)
In the past, if a complaint was not filed within three      Dishonesty and Type III Use of Force are no longer
years of the incident occurring, when video evidence        included as exceptions for which discipline can be
later turned up, or a complainant who was frightened        imposed whenever the misconduct comes to light (no
later came forward, or for any other reason the alleged statute of limitations). The only exceptions remain what
misconduct came to light, no discipline could be            was in the contract before - criminal allegations, where
imposed, regardless of how serious the misconduct           the misconduct was concealed, or 30 days following an
was, unless it was criminal, could be proven the officer adverse disposition in civil litigation alleging intentional
concealed it, or was due to litigation. The legislation     misconduct by an officer.
reformed this by also removing any time limitation for      (Proposed SPOG -Contract 3.6.G)
dishonesty and Type III excessive force, and extending
the time allowed for discipline to be imposed (the          (And note that the contract does not say adverse to
“statute of limitations”) for all other types of            whom.)
misconduct to five years after the incident.
(Accountability Legislation – 3.29.420)
An important provision in the legislation stated that:      The proposed contract requires that OPA interviews of
“OPA shall be physically housed outside any SPD facility SPOG members “shall take place at a Seattle Police
and be operationally independent of SPD in all              facility, except when impractical.”
respects. OPA’s location and communications shall           (Proposed SPOG Contract 3.12.C.3)
reflect its independence and impartiality, except that
OPA shall be organizationally in SPD in order to ensure     The result is that, if the plain language of the contract is
complete and immediate access to all SPD-controlled         applied, OPA must interview officers away from their
data, evidence, and personnel necessary for thorough        offices, which is ineffective and compromises the
and timely investigations and complaint handling.”          independence of the office. We’ve been told that SPOG
(Accountability Legislation – 3.29.105.A) (emphasis         has privately agreed that officers interviews will
added)                                                      continue to be at OPA, but this, if true, both
                                                            compromises transparency (actual practice contravenes
                                                            the formally agreed rules of the road), and is a potential

                                                                                                                           2
             Examples of ways the proposed police officers’ contract affects the police accountability system
                                                            “ace in the hole” on appeal, if an arbitrator finds that an
                                                            officer’s rights under the contract were violated when he
                                                            or she was interviewed at OPA despite negotiated
                                                            language to the contrary.
Under the old contract, if an OPA investigation was not Once again, no discipline can be imposed if the
completed within 180 days, discipline could not be          investigation takes more than 180 days. In addition, the
imposed. In the legislation, the improvement made was way in which the 180 days is calculated is less clear; the
that the 180-day limit is kept as a performance             180-day clock again includes steps outside of OPA’s
measure that OPA must report on each year to show           control (the notice that must be sent to the employee
that it is meeting that deadline, but discipline is no      within the 180 days is sent by the department), and OPA
longer foreclosed if it takes OPA longer than 180 days      again has to ask the Guild for permission for extensions,
to complete the investigation. This helps keep              which the Guild may refuse in light of their duty to
investigations timely without resulting in the public       represent their members (such refusal would probably
losing the ability to hold officers accountable for         be “reasonable” under the contract because it is to the
misconduct. Also, how the 180 days is counted, when         benefit of the SPOG member being represented by the
it starts and stops, and when it must be extended, were Guild).
clearly laid out in the legislation, to eliminate the       (Proposed SPOG Contract - 3.6.B)
frequent challenges and disputes about whether the
180-day timeline was met, as well as the need for OPA
to ask the Guild’s permission when an extension is
warranted. (Accountability Legislation – 3.29.130)
The legislation also addressed the problem of the 180       There is no tolling (pausing) of the 180 day clock for OPA
days continuing to run even when the OPA                    while a criminal investigation is underway. If the OPA
administrative investigation has to be put on hold          administrative investigation has to be put on hold so as
because of a related criminal investigation. If the         not to compromise a criminal investigation, OPA’s 180-
criminal investigation takes months, that does not          day clock continues to run; it is only paused during the
leave OPA much time to do its investigation. Under the time the case is being reviewed by the prosecutor. The
legislation, if the 180-day requirement were retained,      result is that OPA may have insufficient time to
the 180-day time would be paused while the criminal         investigate, whether or not charges are ever filed, in
investigation is ongoing. This was to help ensure both      some of the most serious cases of potential misconduct.
investigations have sufficient time to be done              (Proposed SPOG Contract - 3.7)
thoroughly. Cases involving possible criminal
misconduct are often the most serious, so cutting short Compounding this concern is that the Proposed SPOG
the investigative time OPA has does not serve the           Contract does not go as far as the legislation in
public well.                                                authorizing the OPA director to coordinate OPA
(Accountability Legislation – 3.29.130)                     investigations with criminal investigations external
                                                            criminal investigators and prosecutors on a case-by-case
                                                            basis. (Accountability Legislation – 3.29.100.G;
                                                            Proposed SPOG Contract – Article 3.7, App’x E.12) This
                                                            is identified as a reservation by OPA Director Andrew
                                                            Myerberg in his letter to the City Council. Without
                                                            limitation, the Proposed SPOG Contract gives SPD
                                                            discretion to decide when an OPA investigation can
                                                            proceed in parallel with a criminal investigation, which
                                                            among other things may decrease the amount of time
                                                            for an OPA investigation and decrease the ability of the
                                                            OPA director to independently determine the course of
                                                            the OPA investigation. Moreover, attempts by the OPA
                                                            director to actively coordinate or investigate in parallel


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             Examples of ways the proposed police officers’ contract affects the police accountability system
                                                              may be considered improper “influence” under the
                                                              Proposed SPOG Contract.
The officer or the Guild must fully disclose any relevant There is no express provision prohibiting information
information of which they are aware during the OPA            from being disclosed for the first time at the discipline
investigation. If they don’t, they can’t raise it later at    hearing or on appeal.
the discipline Due Process Hearing or on appeal. This         (Proposed SPOG Contract -Appendix E.12)
reform was to make sure OPA can conduct as thorough
an investigation as possible, without information being
withheld and then later raised at the hearing,
grievance, or appeal as a rationale for arguing the Chief
did not have “just cause” for her decision.
 (Accountability Legislation - 3.29.130)
OPA has always had a civilian director, but all the           The proposed contract limits OPA’s civilian investigators
investigators, intake staff and supervisors were sworn.       to two, limits how they get assigned, prohibits them
The legislation adopted the reform that the supervisors from investigating allegations that might result in
would be civilian, and investigators and intake staff         termination (or requires them to be paired with a sworn
would be a mix of civilian and sworn, as determined by investigator to do – the language used in the contract is
the director, based on the best mix of skills and             unclear.) So for the most serious allegations, this doesn’t
background needed to serve the public well.                   make OPA any more accessible for complainants who
(Accountability Legislation – 3.29.140)                       were not trusting of having sworn investigators, which
                                                              was one of the goals of civilianization nor does it help
                                                              with the challenges inherent in a sworn investigator
                                                              having to recommend a colleague or superior be fired
                                                              for misconduct. The contract also prohibits civilians from
                                                              being dispatched to, or assigned as a primary unit to,
                                                              investigate any criminal activity. This language may
                                                              interfere with civilian personnel in OPA being involved at
                                                              FIT call-outs and with Type III Use of Force.
                                                              (Proposed SPOG Contract - Appendix D & 7.10)
Because there are some allegations where it does not          The contract maintains limits on the Chief’s authority. An
serve the public well to have the employee continue on officer can’t be suspended longer than 30 days pending
active duty and/or continue to get paid while the             investigation unless they’ve been charged with a felony
criminal and/or administrative investigations proceed,        or gross misdemeanor, and that only if that gross
the reform adopted in the legislation provided the            misdemeanor involved moral turpitude or a sex or bias
Chief greater authority to put an officer on leave            crime; or if the allegation could lead to termination if
without pay, if the officer has been charged with a           proven true. The Chief does not have the authority the
felony or gross misdemeanor; if the allegations could         legislation provided to suspend beyond 30 days if the
lead to the officer being fired if they’re found to be        Chief finds it necessary for the officer’s or public safety,
true; or if the Chief finds it necessary for the officer’s or or security or confidentiality of law enforcement
public safety, or security or confidentiality of law          information. Given the length of time prior to filing of
enforcement information.                                      charges, this could well mean needing to return an
The officer will get back pay if reinstated, less any         officer to active duty who will later be charged with a
amounts representing a sustained penalty of                   serious crime, which damages public trust, especially in
suspension.                                                   highly visible cases.
(Accountability Legislation - 3.29.420)                       (Proposed SPOG - Contract 3.3)
The old contract allowed officers to use vacation time        The proposed contract allows officers to use vacation
or any other accrued time to be compensated when              time or any other accrued time balance to get paid
they had been disciplined with an unpaid suspension,          during an unpaid suspension, as long as the suspension is
for any suspension of less than 8 days. The legislation       less than eight days (which suspensions frequently are).
reformed this to prohibit the use of accrued paid leave (Proposed SPOG - Contract 3.4)
                                                                                                                             4
             Examples of ways the proposed police officers’ contract affects the police accountability system
regardless of the length of the suspension. This
addressed the widespread public perception of officers
being paid to sit at home as their ‘accountability’ for
misconduct.
(Accountability Legislation – 3.29.420 A.8)
The legislation addressed the problem of destruction of OPA files on an officer will only be retained based on
personnel and OPA records by requiring that all of an       their outcome. If an investigation finding is “sustained,”
officer’s personnel and OPA files must be kept on           the record will be kept as long as the Accountability
record as long as the officer is still employed with the    Ordinance says it should. But, if the finding is “not
City, plus six years or as long as an action related to     sustained,” it will only be kept for three years.
that employee is ongoing.
                                                            The proposed contract also removes the specific
The Ordinance also clearly defined what personnel           requirements in the Ordinance for what must be
records are, and for the sake of transparency, proving      retained and the prohibition on negotiating the later
progressive discipline, and public records obligations,     removal of records of sustained findings and discipline,
ensured the parties couldn’t negotiate later removal of which can impede the department’s ability to prove
records of discipline imposed: “SPD personnel files shall appropriate progressive discipline and fair/uniform
contain all associated records, including Equal             application, as well as frustrate public disclosure
Employment Opportunity complaints, and disciplinary         obligations.
records, litigation records, and decertification records;   (Proposed SPOG contract - 3.6.L)
and OPA complaint files shall contain all associated
records, including investigation records, Supervisor
Action referrals and outcomes, Rapid Adjudication
records, and referrals and outcomes of mediations.
Records of written reprimands or other disciplinary
actions shall not be removed from employee personnel
files.”
(Accountability Legislation – 3.29.440)
The legislation reformed the disciplinary appeals           Other than maintaining some of the timelines, none of
process in several ways, to make the system fair,           the other reforms to the disciplinary appeals process are
timely, transparent, efficient and uniform. For example, retained in the contract. These reforms were all
eliminating other employees being involved in deciding recommended based on extensive reviews of problems
appeals of discipline, and arbitrators who both the City that had come to light with the City’s disciplinary appeals
and Guild must agree on, and instead having only the        processes in the highly publicized wave of disciplinary
Public Safety Civil Service Commission (PSCSC) working reversals in cases on appeal in spring 2014.
with a professional, neutral Hearing Examiner decide
appeals; having a standard of review that gives
deference to the factual findings of the Hearing Officer,
and requires the recommended decision and the final
decision affirm the disciplinary decision unless the
PSCSC specifically finds that the disciplinary decision
was not in good faith for cause, in which case they may
reverse or modify the discipline only to the minimum
extent necessary to achieve this standard; having strict
timelines for each phase from how much time the
officer has to request a hearing to how quickly the
ruling must be issued, so that appeals don’t drag on for
months or years; not allowing grievance procedures to
result in any alteration of the discipline imposed by the
Chief; and requiring all disciplinary hearings to be open

                                                                                                                         5
           Examples of ways the proposed police officers’ contract affects the police accountability system
to the public.
(Accountability Legislation - 3.29.420 and 4.08.105)

The legislation stated that the accountability system        There is no language in the contract that states that
should work the same way for employees of all ranks.         accountability policies and practices shall be applied
This was to ensure that the public and employees can         uniformly regardless of rank or position, and the two
rely on complaint, investigation, discipline, disciplinary   contracts (SMPA for Captains & Lieutenants and SPOG
appeals and related processes that do not treat higher       for sergeants and officers) now have very different
ranking personnel differently than officers and              terms.
sergeants.
(Accountability Legislation - 3.29.100 D.)                   This means different standards for different ranks. OPA
                                                             will either have to establish two different systems for
                                                             complaints and investigations involving employees from
                                                             SPOG and employees from SPMA (different 180-day
                                                             deadlines, different burdens of proof, different statutes
                                                             of limitations, different approaches to investigations of
                                                             possible criminal misconduct, different notice
                                                             requirements, etc.) even if the employees are all
                                                             involved in the same incident; or OPA will instead apply
                                                             the more onerous approach in the SPOG contract to all
                                                             employees, giving those concessions to management
                                                             employees who have not bargained for them.
The legislation stated that the police department will       The contract states: “Employees covered by this
establish a civilian office to manage secondary              Agreement shall be allowed to engage in off-duty
employment (off-duty work) of employees, providing           employment subject to the same terms and conditions
appropriate oversight as well as independence from           in effect on January 1, 1992” and “the City may reopen
those who benefit from receiving off-duty work               this Agreement on the issue of Secondary Employment.
assignments.                                                 In the event the City does re-open, the Guild may re-open
(Accountability Legislation -3.29.430 (D) )                  the Agreement on any economic issue that is directly
                                                             related to and impacted by the change in Secondary
The Interim Mayor then issued an Executive Order in          Employment.”
the fall of 2017 and the department was to move
forward by the beginning of 2018 with new secondary          This appears to step back from commitments made by
employment management and policies.                          the City regarding a new system providing for greater
The existing system has for years suffered from real         accountability in secondary employment as
and perceived conflicts of interest, has internal            recommended by the OPA Auditor, City Auditor,
problems among employees competing for business, is          Executive Director of the Seattle Ethics & Elections
technologically out of date, and lacks appropriate           Commission, and the CPC.
supervisory review and management. Among many                (Proposed SPOG Contract - 7.9 & 21.5)
reforms, the department was to create an internal
civilian-led and civilian-staffed office to handle
assignments for off-duty work; eliminate the practice of
having the work managed outside of the department,
often by current employees acting through their private
businesses created for this purpose or through
contracts between the employee and a private
business; make clear that all policies still apply when
employees are performing secondary employment
work; and establish clear and unambiguous policies,


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           Examples of ways the proposed police officers’ contract affects the police accountability system
rules and procedures consistent with strong ethics and
a sound organizational culture.

Another improvement adopted in the legislation was to       The proposed contract eliminates these transparency
address the problem lack of transparency for the            and timeliness improvements, most of which stemmed
complainant, public and others if a sustained finding or    from the wave of controversial disciplinary reversals in
discipline is changed at some point in the process after    spring 2014. “When the Police Chief changes a
the employee’s Due Process Hearing. The ordinance           recommended finding from the OPA, the Chief will be
already required the Chief to send a written summary        required to state his/her reasons in writing and provide
to the Mayor and Council if the Chief decides not to        these to the OPA Director. A summary of the Chief’s
follow one or more of the OPA Director’s written            decisions will be provided to the Mayor and City
recommendations on findings following an OPA                Council.”
investigation. The legislation strengthened this in         (Proposed SPOG -Contract 3.5.G)
several ways: it must be done within 30 days of the
Chief’s decision on the disposition of the complaint
(this was to address long delays that had occurred in
the past). In addition to the Mayor, the statement must
be specifically sent to the Council President and the
Chair of the public safety committee, the City Attorney,
the OPA Director, the Inspector General, and the CPC
Executive Director. It must be included in the OPA case
file and communicated to the complainant. It must also
be included in OPA’s public summaries. Lastly, to
address the problems of findings or discipline resulting
from an investigation being changed later in the
process as the result of an appeal or grievance,
whenever that happens, the City Attorney must send
the statement to those recipients, with the same
information provided to the complainant and the
public.
(Accountability Legislation - 3.29.135)
The legislation set forth that if officers are to be in     The proposed contract requires that a transfer based on
specialty units and be entitled to the higher pay that      inadequate performance may only occur if the
comes with that, their performance record and OPA           department has documented a repetitive performance
history must meet certain standards. It also made clear     deficiency and informed the employee, and the
that they could be transferred out if performance           employee has had a reasonable opportunity to address
standards, including OPA history, were not maintained.      the performance deficiency, normally no less than thirty
“SPD shall adopt consistent standards that underscore       (30) and no more than ninety (90) days. This doesn’t
the organizational expectations for performance and         align with the goal of allowing for removal from a
accountability as part of the application process for all   specialty assignment if certain triggering events,
specialty units, in addition to any unique expertise        including misconduct or other conduct that warrants
required by these units, such as field training, special    transfer. It also does not address the required standards
weapons and tactics, crime scene investigation, and the     for the initial appointment to a specialty unit. (Proposed
sexual assault unit. In order to be considered for these    SPOG Contract - 7.4.G & 7.4.4)
assignments, the employee’s performance appraisal
record and OPA history must meet certain standards
and SPD policy must allow for removal from that
assignment if certain triggering events or ongoing
concerns mean the employee is no longer meeting


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            Examples of ways the proposed police officers’ contract affects the police accountability system
performance or accountability standards.”
(Accountability Legislation - 3.29.430)
The legislation requires all other agreements between      The contract appendices list many agreements that
the City and the Guild must be made publicly available     haven’t been made publicly available and won’t be,
and incorporated in the contract, or they must be          presumably, until after the contract is approved. Only
considered no longer in effect. The purpose of this        their titles are listed, not their terms, so it is impossible
improvement was to address a past problem that there for the public to know in what ways they additionally
have been other terms and conditions imposed by            affect how the accountability system works.
those separate agreements (often made to resolve a         (Proposed SPOG Contract - Appendices E.12 & F)
grievance or unfair labor practice) that also impact the
public, but they are not publicly known.
(Accountability Legislation - 3.29.460)




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ATTACHMENT 2
 to EXHIBIT D
VIA ELECTRONIC MAIL ONLY

October 26, 2018

M. Lorena González
600 Fourth Avenue, Floor 2
PO Box 34025
Seattle, Washington 98124-4025

RE: Proposed Tentative Collective Bargaining Agreement with Seattle Police Officers’ Guild

Dear Councilmember González,

I am writing in response to your request for OPA’s written analysis of the implications of the tentative
collective bargaining agreement (TA) between the City and the Seattle Police Officers’ Guild (SPOG).

I do not believe that implementation of this TA would prevent OPA from fulfilling its legislated purpose
as set forth in the Accountability Ordinance.1 I further do not believe that it would prevent OPA from
carrying out its specific duties and responsibilities, such as holding officers accountable when
appropriate; conducting objective, fair, thorough, and timely investigations; and recommending needed
improvements to Department policies, tactics, and training. Indeed, when evaluated from an OPA-specific
perspective, the TA provides multiple improvements from the existing contract, including:

     •    Civilianizing two OPA investigator positions;
     •    Removing the “knew or should have known” language regarding the 180-day timeline;
     •    Simplifying classification notifications;
     •    Eliminating the Discipline Review Board;
     •    Adding flexibility around OPA transcription due dates;
     •    Relaxing the initial complaint notification timing requirement; and
     •    Implementing a Rapid Adjudication pilot and Frontline Investigations.

Despite these positive changes, I do have reservations about some aspects of the TA that deviate from the
Accountability Ordinance, including those that:

     •    Limit OPA’s authority to coordinate criminal investigations;
     •    Add elements of complexity to the 180-day timeline and make it more restrictive than the
          language set forth in the Seattle Police Management Association contract;
     •    Remove the automatic tolling of the 180-day timeline when a case is criminally investigated
          within SPD;
     •    Allow for new evidence to be raised at due process hearings without a mandatory extension to the
          180-day timeline; and
     •    Constrain OPA’s ability to allocate staffing and resources as it sees fit.


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  SMC 3.29.010(B) states OPA’s purpose as to “…help ensure the actions of SPD employees are constitutional and in
compliance with federal, state, local laws, and with City and SPD policies, and to promote respectful and effective policing, by
initiating, receiving, classifying, investigating, and making findings related to complaints of misconduct.”
Moreover, while it may affect OPA only tangentially, I feel that not addressing mandatory transfers to
facilitate the consistent rotation of officers to new assignments was a missed opportunity to strengthen
SPD’s culture and effectiveness.

In my evaluation of the TA and its impact on OPA, I closely reviewed the documents generated by the
Community Police Commission (CPC) and greatly appreciated the depth and perspective of their
analysis. All the accountability entities have a responsibility to ensure fidelity to a system that is sound
and well-functioning. In this regard, the CPC carried out its purpose thoughtfully. The CPC highlighted
the TA’s exclusion of some of the systemic reforms legislated by the Accountability Ordinance and noted
the incongruous language around the disciplinary appeal process. While these provisions may not
implicate OPA directly, I agree that they have potential downstream consequences and could, if not
monitored closely, impact the system on a larger scale.

While I agree with much of the CPC’s analysis, my interpretation of the potential implications of some of
the provisions differs slightly. An example of this includes the language surrounding the roles and
responsibilities of the civilian investigators. Furthermore, I do not agree with certain baseline provisions
of the Accountability Ordinance that the CPC identified as being rolled back by the TA and, as such, I am
less troubled by some of the discrepancies between the two documents. For example, the Accountability
Ordinance untethered the 180-day timeline from the imposition of discipline. In my opinion, that is not
procedurally just or fair to officers and could, in fact, undermine trust in the disciplinary system.

I recognize, however, that the conceptual arguments surrounding the TA cannot be divorced from the
reality that officers, detectives, and sergeants have been working without a contract for the last four years.
They have done so while implementing the reforms under the Consent Decree and acting as the engine to
move the Department to full and effective compliance. I firmly believe they deserve a contract. I share the
concerns raised by many others that Department morale is low, and if the TA is rejected, it could
undermine the oversight system and further erode the trust and buy-in that OPA has been working hard to
build. These concerns must be balanced against the City’s prerogative to negotiate lasting reforms that
will ensure accountability and equitable policing moving forward.

Labor contracts consist of a bargained-for exchange. Whether the trade-offs included in the TA – and the
non-inclusion of several provisions contained in the Accountability Ordinance – are acceptable is not a
question for OPA to answer; that is for City Council to decide. Similarly, I cannot speak to whether the
TA is consistent with the Consent Decree, as this is a question for the parties to the Decree and,
ultimately, District Judge Robart. Regardless of the Council’s decision, OPA will continue to carry out its
mission and effectuate its purpose under both the Accountability Ordinance and the Consent Decree.

Lastly, it is OPA’s hope that the City and SPOG keep an open dialogue, not just in preparation for
negotiations on the next contract, but soon after action on the TA. There are reopeners that will need to be
discussed and, ideally, conversations concerning refining the language of the TA, what is and is not
working, and how to advance the accountability system by adopting best practices. This will demonstrate
that the City and SPOG are committed to a fair, transparent, and constantly improving system. OPA looks
forward to participating in these ongoing discussions and assisting in setting the bargaining agenda for
2020.
I appreciate being afforded the opportunity to address the issues set forth in this letter. Please do not
hesitate to contact me with any questions concerning the above.

Sincerely,



Andrew Myerberg
Director, Office of Police Accountability

cc:     Mayor Jenny A. Durkan
        Anthony Auriemma, Mayor’s Office
        Ian Warner, Mayor’s Office
        Chief Carmen Best, Seattle Police Department
        Deputy Chief Marc Garth Green, Seattle Police Department
        Fé Lopez, Director, Community Police Commission
        Lisa Judge, Inspector General for Public Safety
        Pete Holmes, City Attorney
        Council President Bruce Harrell (District 2)
        Councilmember Teresa Mosqueda (Position 8, Citywide)
        Councilmember Sally Bagshaw (District 7)
        Councilmember Mike O’Brien (District 6)
        Councilmember Kshama Sawant (District 3)
        Councilmember Lisa Herbold (District 1)
        Councilmember Rob Johnson (District 4)
        Councilmember Debora Juarez (District 5)
ATTACHMENT 3
 to EXHIBIT D
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       |||^ Inspector General

Date: Oct. 26, 2018


To: Councilmember M. Lorena Gonzalez, Chair, Gender Equity, Safe Communities, New
       Americans, and Education Committee

From: Lisa Judge, Inspector General for Public Safety/
Re: Response to memo dated October 22, 2018



I appreciate the opportunity to discuss potential impacts of the tentative agreement (TA)
between the Seattle Police Officers Guild (SPOG) and the City on the operations of the Office of
Inspector General for Public Safety (DIG). At the outset, it is of paramount importance that I
stress the objective, independent mission of OIG and the corresponding need, to the extent
possible, to maintain a neutral posture with all partners in the accountability structure. That
said, I respect the need of the City to take into account community interests in continued
reform, respective negotiation efforts, and need for the City and Guild to reach an agreement.

I recognize that the right and obligation to engage in labor negotiation for the City is the
purview of the Executive, subject to ratification by the Legislative body. The role ofOIG
extends only to engaging in consultation as a subject matter expert at the request of, and with
consent of, the parties. OIG was consulted regarding this TA in a limited capacity concerning
several specific provisions related to OIG authority and operation. OIG was not involved in any
direct negotiations between the parties. To the extent OIG might have an ability to remedy any
of the areas of concern with the TA, if adopted, it is within OIG authority to audit the systems
established by the terms of the TA, and to push course correction through audit, analysis, and
recommendations.

As your memo states, OIG was created //to help ensure the fairness and integrity of the police
system as a whole in its delivery of law enforcement services by providing civilian auditing of
the management, practices, and policies of SPD and OPA and oversee ongoing fidelity to
organizational reforms implemented pursuant to the goals of the 2012 federal Consent
Decree/7 This language makes clear not only what the mandate is for OIG, but also the manner
in which OIG has authority to operate. Accordingly, this memo details the impact of the
proposed TA on the ability of OIG to effectively audit and review SPD and OPA, and to oversee
ongoing fidelity to the reforms implemented by the consent decree.

The following is neither an endorsement nor criticism of the results of the bargaining efforts
that have thus far resulted in a contract approved by SPOG, pending consideration by the
Seattle City Council. It is, rather, an analysis of the impact of the proposed contract on OIG




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operations, as well as the OIG mission to further the stated purposes and goals of the
accountability ordinance. The TA legitimizes OIG authority within the labor structure, and
solidifies the ability to function effectively, since the terms of the TA acknowledge OIG authority
and unfettered access to SPD and OPA operations, as contemplated by the accountability
ordinance.

Main areas ofTA impact on OIG operation

   1. Access to information from SPD

OIG is the singular civilian oversight entity charged with auditing the management, practices,
and policies of the Seattle Police Department (SPD) and Office of Police Accountability (OPA).
Implicit in the duty to oversee ongoing fidelity to the consent decree is the vital need for full
and complete information access. DIG access to SPD and OPA information is critical for
effective monitoring and meaningful contribution to ongoing reform efforts.

OIG responsibilities involve auditing SPD and OPA systems and reviewing SPD incident
response, including authority for on-scene access by OIG. As part of these duties, OIG also
reviews OPA classifications and certifies OPA investigations as thorough, timely, and objective
(3.29.260).

The TA formally acknowledges and guarantees "full and unfettered access to the operations of
the department/' Insofar as "operations" is construed broadly, this particular provision fully
realizes and acknowledges the authority of the Inspector General (IG) to daylight the operations
of SPD, with an eye toward ensuring that the department remains on the path of innovative
reform. Conversely, a narrower definition of "operations" has the potential to constrain access

to information needed for meaningful audit or review.

There are two additional areas for discussion regarding information access. One notable
concern is the TA's potential restriction on IG participation in Force Review Board (Firearms
Review Board) meetings to that of an observer (App. G). A purely observational role that does
not allow robust participation of the IG significantly limits the ability of OIG to effectively review
serious incidents.

The other area of potential impact is the TA restriction on subpoena power (App. E.12). While
generally, the restriction on subpoena power is more likely to affect OPA and OIG in the context
of obtaining information related to a misconduct investigation (such as employee bank
records), subpoena power as envisioned in the ordinance was intentionally broad. So long as
SPD remains a willing partner, the absence of subpoena power may not be felt as an actual
negative impact, but planning for the future and the possibility of a less willing law enforcement




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partner is prudent. In the event SPD ceases to be collaborative and declines to provide
information upon request by the IG, a subpoena might be the only alternative recourse to
obtain critical information, or to achieve code or contractual compliance.


    2. Ability to perform misconduct investigations involving OPA personnel


    a. The 180-day calculation - The TA allows for the time limitation "clock" to start due to
actions outside the control and knowledge of OPA. It is a question for OPA as to whether there
are adequate mechanisms in place to allow OPA to receive timely notice when such outside
actions trigger the clock. In the event OIG undertakes an OPA conflict investigation, the same
potential issue with the time calculation would apply to OIG. In addition, OIG has authority to
request or direct further investigation (3.29.260.D). In those cases, OPA must resubmit the case
to OIG for certification before the OPA Director may issue proposed findings. Any impacts of
the TA on the 180-day investigation time limit will affect OIG ability to respond to OPA, as well
as the amount of time left for OPA to issue findings.
    b. Civilian vs. sworn investigators - The TA allows for two civilian investigators in OPA
(App. D & 7.10), but App. D states that any case that reasonably could lead to termination "will
have a sworn investigator assigned to the case/' This appears to relegate civilian investigators
to only investigations of less serious allegations. This would potentially directly conflict with the
obligation of OIG to investigate serious misconduct allegations in those situations where OPA is
conflicted out.


    3. Burden of Proof


The accountability ordinance provides that the same evidentiary standard be applied uniformly
to all cases. It states, 'Termination is the presumed discipline for a finding of material
dishonesty based on the same evidentiary standard used for any other allegation of
misconduct" (3.29.135.F).

The TA on its face reduces the burden of proof for a departmental finding of dishonesty, as it
strikes the existing CBA requirement that the department prove dishonesty by clear and
convincing evidence (3.1). It also calls for a standard of review and burden of proof that is
consistent with established principles of labor arbitration, including "an elevated standard of
review (i.e. - more than preponderance of the evidence) for termination cases where the
alleged offense is stigmatizing to a law enforcement officer, making it difficult for the employee
to get other law enforcement employment/' For purposes of this analysis, stigmatizing cases
are presumed to include, but not be limited to, cases involving dishonesty.




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              Inspector General
The practical consequence of the TA language is that OIG, in conducting a misconduct
investigation, would likely seek to apply a standard that is greater than a preponderance of the
evidence in order to be consistent with the standard that would be applied upon review. It is
unclear whether termination might be de facto stigmatizing and therefore require all cases to
be held to a greater standard of review.
Whether the TA language will result in fewer sustained findings compared to current OPA
practice is unknown, given the subjective nature of what constitutes a preponderance of the
evidence versus "more than a preponderance." Further, when applying a "more than
preponderance" standard, it is unclear how OPA, OIG, and arbitrators would each define this
standard and how consistency across entities and between individual arbitrators could be
achieved.
Other TA Impacts on OIG
   1. Retaliation claims -The accountability ordinance authorizes OIG to open an
      investigation into matters involving retaliation against employees of OPA, OIG, CPC, or
      others who provide information to these entities, and to refer a complaint to the
      appropriate authority (3.29.480}. The TA, however, places the obligation and authority
      on SPD to receive and handle Equal Employment Opportunity investigations (3.13}. Of
      note, a February 2005 MOU requires that complaints be investigated by a sworn
      member of SPD.

   2. Changes in findings or discipline -The accountability ordinance requires that the OIG
      be copied on changes in findings or discipline (3.29.125}. The failure to include this
      provision will require OIG to proactively seek such information and will impede the
      timely receipt of information by OIG.

   3. MOUs incorporated by reference - The TA Appendix F incorporates various other
      agreements by reference that have potential impacts on OIG operations. Should any of
      the MOUs become an impediment to "full and unfettered access to the operations of
      the department," OIG will keep track of such occurrences for purposes of




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        providing 2020 collective bargaining agenda input.1


   4. Unfair Labor Practice complaints - The TA provides for dismissal of current unfair labor
        practice complaints (ULP) lodged against the City (App. G). Two areas that have the
        potential to be contentious are OIG presence at Force Review Board and at Force
        Investigation Team activities. Both activities have OIG duties established by the
        accountability ordinance (3.29.240.G), but as DIG authority has yet to be recognized in
       the labor scheme, each instance of such oversight activity creates the potential for a
        ULP complaint.


    5. Unsustained findings records retention - The ability of OIG to retain unsustained
        records for analysis is helpful, but if the requirement that names not be kept is
        interpreted as prohibiting the retention of identifying information, then that limitation
       would hamper DIG ability to look at trends involving individual officer behavior over
       time.


Conclusion

On balance, the Inspector General is empowered to perform accountability duties under the
terms of the TA, with potential limitations as highlighted above. OIG will have a role moving
forward as the objective check on the system, to review, audit, and evaluate the systems as
they play out under the TA and accountability ordinance. OIG can use that information to help
the City's oversight partners advance recommendations that improve the system and serve as
guidance for what is needed to sustain public confidence.




1 Examples of MOU areas that could benefit from clarification with respect to OIG include the following:
    • August 2008 holding cell video MOU - does not contemplate uses besides performance review
        or investigations, which could affect OIG access
    • August 2008 Automated Vehicle Locator system MOU - directs that data will be maintained and
        audited by the Communications and/or IT Section, which does not recognize the auditing
        function ofOIG
    • Oct. 2012 In Car Video settlement agreement - enumerates the only reasons for which
        department review of ICV will be conducted, which does not include audit or review purposes
        byOIG
    • Jan. 2013 Monitor FRB attendance MOU - identifies conditions for Monitoring team FRB
        attendance, including a restriction on asking questions and who can attend. The TA includes
        OIG attendance.
    • Feb. 2013 due process hearing MOU - restricts who can attend due process hearing



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ec: Council President Bruce Harrell (District 2)
       Councilmember Lisa Herbold (District 1)
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       Mayor Jenny A. Durkan
       lan Warner, Legal Counsel to the Mayor
       Anthony Auriemma, Mayor's Office
       Chief Carmen Best, Seattle Police Department
       Deputy Chief Marc Garth-Green, Seattle Police Department
       Interim Chief Operating Officer Mark Baird, Seattle Police Department
       Assistant Chief Lesley Gardner, Seattle Police Department
       Fe Lopez, Director, Community Police Commission
       Andrew Myerberg, Director, Office of Police Accountability
       City Attorney Pete Holmes, City Attorney's Office




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